           EXHIBIT A




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                             THE COSTS OF CLEAN WATER IN
                              HOOSICK FALLS: PRIVATE CIVIL
                          LITIGATION AND THE REGULATION OF
                               DRINKING WATER QUALITY
                                                              BRONWEN B. O’HERIN*

                             Despite extensive statutory law and regulations governing drinking water quality in
                             the United States, water-contamination crises have been a regular feature of the
                             American news cycle in recent years, perhaps most notably in Flint, Michigan, but
                             also in a disturbing number of localities across the United States, including the
                             upstate New York town of Hoosick Falls. This Note uses the water-contamination
                             crisis in Hoosick Falls as a case study to analyze why these apparent regulatory
                             failings continue to persist. This case study reveals how scientific uncertainty,
                             resource constraints, and the socio-political dynamics of public regulation in the
                             drinking-water context limit public ex ante regulatory mechanisms’ power to deter
                             drinking-water contamination and to rebalance the equities disrupted when
                             drinking-water pollution occurs. In Hoosick, private tort litigation has the potential
                             to be a powerful vehicle for addressing such regulatory shortcomings, but its ability
                             to do so will turn on whether courts are willing to be more flexible in their concep-
                             tions of legally cognizable harm. I argue that such flexible conceptions are justified
                             and would serve a crucial dual purpose—bolstering pollution deterrence and pro-
                             viding a forum in which social costs not accounted for during the regulatory, indus-
                             trial, and political processes that drive public-resource governance may, finally, be
                             accounted for.

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                       of Law. Deep gratitude to all those (including more Law Review colleagues than I can
                       name) who helped in the development, writing, and editing of this piece. Professor
                       Catherine Sharkey and my brother, Conor O’Herin, are both due special words of thanks,
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                       though for entirely different reasons.

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                                                                    INTRODUCTION

                             On October 6, 2016, mothers from Flint, Michigan, and Hoosick
                       Falls, New York, met to discuss how to move forward in the wake of
                       major water contamination crises in each of their respective communi-
                       ties. “What’s happening in Flint, what’s happening here . . . . Why?”
                       Flint resident Darlene McClendon asked. “Why do we have to put up
                       with something that’s a right? Clean water.”1 Recent headlines have
                       made clear that McClendon’s questions are relevant, not just to the
                       people of Flint, but to a disturbing number of localities across the
                       United States.2 Indeed, the widespread attention on public water sys-
                       tems nationwide prompted proposals for a comprehensive update of
                       the federal Safe Drinking Water Act (SDWA) in September 2016.3
                             Such issues have not gone unnoticed by academic commentators.4
                       Those assessing the problems plaguing the nation’s public water sys-
                       tems frequently reference the patchwork of regulatory mechanisms
                       governing water quality (several core environmental statutes as well
                       as common-law tort actions).5 Many have analyzed the difficulties of
                       bringing water contamination tort lawsuits to penalize undesired

                           1 Tanja Rekhi, Flint Mothers Travel from Michigan, Hear Hoosick Falls’ Water
                       Concerns, SPECTRUM NEWS: CAPITAL REGION (Oct. 7, 2016, 2:53 AM), http://




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                       spectrumlocalnews.com/nc/triad/hoosick-falls-water-contamination/2016/10/6/flint-
                       mothers-travel-from-michigan—hear-hoosick-falls—water-concerns.
                           2 See, e.g., Laura Unger & Mark Nichols, 4 Million Americans Could Be Drinking
                       Toxic Water and Would Never Know, USA TODAY (Dec. 14, 2016, 8:01 AM), https://
                       www.usatoday.com/story/news/2016/12/13/broken-system-means-millions-of-rural-
                       americans-exposed-to-poisoned-or-untested-water/94071732/.
                           3 Press Release, Comm. on Energy and Commerce Democrats, House Democrats
                       Introduce Comprehensive Update to Safe Water Drinking Act (Sept. 22, 2016), https://
                       democrats-energycommerce.house.gov/newsroom/press-releases/house-democrats-
                       introduce-comprehensive-update-to-safe-drinking-water-act (“The crisis in Flint has
                       highlighted the need for action, but water systems nationwide are in dire need of dramatic
                       improvements . . . .”).
                           4 See, e.g., David A. Dana, Escaping the Abdication Trap when Cooperative
                       Federalism Fails: Legal Reform After Flint 3–11 (Nw. Univ. Pritzker Sch. of Law Pub. Law
                       & Legal Theory Series, Working Paper No. 17-08, 2017) https://papers.ssrn.com/sol3/
                       papers.cfm?abstract_id=2942507; Jonathan R. Eaton, The Sieve of Groundwater Pollution
                       Protection: A Public Health Law Analysis, 6 J. HEALTH & BIOMEDICAL L. 109 (2010).
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                           5 See, e.g., Eaton, supra note 4, at 117–18 (explaining that the EPA regulates
                       groundwater under six different statutes and that there is no centralized authority directly
                       dealing with groundwater).

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                       behavior,6 while many others have highlighted shortcomings in the
                       regulations designed to preserve our nation’s waters.7 Yet while the
                       dual regulation of drinking water by common-law tort action and
                       public regulation is widely recognized, surprisingly few—if any—
                       authors have drawn lessons from the vast literature on the law-and-
                       economics view of tradeoffs between litigation and regulation at the
                       regulatory mix that governs drinking water.8 This Note aims to
                       remedy this oversight by applying insight from the law-and-economics
                       framework to a case-study analysis of the groundwater contamination
                       crisis in Hoosick Falls. Through this case study, I aim to uncover why
                       troubling regulatory gaps persist under the federal and state laws that
                       currently govern drinking water quality.
                             The case study ultimately reveals how certain challenges charac-
                       teristic of drinking-water regulation—namely scientific uncertainty,
                       resource constraints, and the socio-political dynamics of public regula-
                       tion—limit public regulatory mechanisms’ power to deter drinking-
                       water contamination and to rebalance the equities disrupted when
                       drinking-water pollution occurs. In Hoosick, private tort litigation
                       could address such regulatory shortcomings, but its ability to do so
                       turns on whether courts would be flexible in their conceptions of
                       legally cognizable harm. I argue that such flexible conceptions are jus-
                       tified, given the background of the regulatory constraints just men-
                       tioned. Regulatory constraints serve a crucial dual purpose of

                           6 See, e.g., Adam D.K. Abelkop, Tort Law as an Environmental Policy Instrument, 92
                       OR. L. REV. 381 (2013); Eaton, supra note 4, at 136 (discussing the difficulties of
                       establishing a chain of causation and medical certainty); Palma J. Strand, The
                       Inapplicability of Traditional Tort Analysis to Environmental Risks: The Example of Toxic




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                       Waste Pollution Victim Compensation, 35 STAN. L. REV. 575, 576–607 (1983) (analyzing
                       toxic waste pollution as a deviation from traditional tort injuries); James R. Wedeking,
                       Maximum Contaminant Levels and Environmental Injuries, 28 J. CONTEMP. HEALTH L. &
                       POL’Y 183 (2012) (observing the difficulty in establishing injury in a water-contamination
                       tort lawsuit and arguing for using maximum contaminant levels as a bright-line threshold).
                           7 See, e.g., Dana, supra note 4, at 3–11 (analyzing shortcomings in the Safe Drinking
                       Water Act); Scott D. Laufenberg, The Struggle of Cities to Implement the Safe Drinking
                       Water Act in the Context of Intergovernmental Relations, 3 DRAKE J. AGRIC. L. 495 (1998)
                       (discussing difficulties at the city level in implementing the Safe Drinking Water Act).
                           8 For literature exploring the law-and-economics view of tradeoffs between litigation
                       and regulation, see generally Kenneth S. Abraham, The Relation Between Civil Liability
                       and Environmental Regulation: An Analytical Overview, 41 WASHBURN L.J. 379 (2002);
                       David E. Adelman & Ian J. Duncan, The Limits of Liability in Promoting Safe Geologic
                       Sequestration of CO2, 22 DUKE ENVTL. L. & POL’Y F. 1, 23 (2011) (discussing how
                       economists now recognize complementary differences between common-law tort liability
                       and ex ante environmental regulation); Charles D. Kolstad et al., Ex Post Liability for
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                       Harm vs. Ex Ante Safety Regulation: Substitutes or Complements?, 80 AM. ECON. REV. 888,
                       889, 897–99 (1990) (theorizing the proper balance between ex post liability and ex ante
                       safety regulation in mixed regimes); Steven Shavell, Liability for Harm Versus Regulation
                       of Safety, 13 J. LEGAL STUD. 357, 357–74 (1984).

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                       bolstering pollution deterrence and providing a forum in which “regu-
                       latory myopia”—the tendency of public regulators to undervalue the
                       cost of uncertain future risks—can be combatted by those who suffer
                       harm as a consequence of such myopia.9
                             This paper proceeds in three parts. In Part I, I discuss the law-
                       and-economics framework for analyzing tradeoffs between litigation
                       and administrative regulation and use it to explain why, although the
                       current regulatory system for drinking water represents a mix of litiga-
                       tive and administrative regulation, that mixed system nevertheless
                       exhibits several key regulatory gaps. In Part II, I explain how these
                       gaps led to Hoosick Falls’s groundwater contamination and regulatory
                       response, and I argue that the reality of regulating in the face of
                       resource constraints and scientific uncertainty makes reliance on tort
                       litigation as a regulatory backstop (rather than statutory revamp) a
                       preferable solution. In Part III, I argue that the need for tort law as a
                       regulatory backstop warrants judicial adoption of noneconomic injury
                       and medical monitoring damages—adoption of these less conven-
                       tional forms of legally cognizable injuries will allow tort law to be both
                       a stronger deterrent and a platform for precautionary concerns that
                       are consistently overlooked by public regulators.

                                                        I
                                     WATER-QUALITY REGULATION: THEORETICAL                        AND
                                              STATUTORY BACKGROUND
                            In the era of the modern administrative state, regulation is typi-
                       cally supplied by statutory law and regulations that authorize govern-
                       ment action to address market failings within an industry. However,




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                       prior to the modern era, common-law litigation served as the primary
                       means of regulating an industry.10 Today, public regulation adminis-
                       tered by the state may work in tandem with traditional common-law
                       actions brought by private parties to regulate an industry, though

                           9 I borrow the phrase “regulatory myopia” from Stephan Michel, Alessandro Romano
                       & Ugo Zannini, Joint Use of Liability and Regulation in Environmental Law 2 (Universität
                       Hamburg Inst. of Law & Econ., Working Paper No. 5, 2017).
                          10 See Robert L. Rabin, Federal Regulation in Historical Perspective, 38 STAN. L. REV.
                       1189, 1196 (1986) (noting that “from a national perspective, commercial affairs took place
                       in a world without [federal administrative] regulation” and acknowledging a “fairly
                       substantial amount” of state-level administrative regulation). Note that one of the earliest
                       federal regulatory statutes, the 1838 Steamboat Inspection Act (Act of July 7, 1838, ch. 191,
                       5 Stat. 304), reflected the “traditional, nonadministrative deterrence strategies” of the
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                       common law in its reliance on enhanced civil liability and sanctions for specified
                       misconduct to regulate steamboat boilers. Jerry L. Mashaw, Administration and “The
                       Democracy”: Administrative Law from Jackson to Lincoln, 1829-1861, 117 YALE L.J. 1568,
                       1634 (2008).

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                       scholars debate whether such a “mixed system” is ideal in various
                       contexts.11
                             One common framework for thinking about the pros and cons of
                       public, administrative regulation, and private litigative regulation
                       comes from the law-and-economics school of legal thought and was
                       given its seminal form by Steven Shavell.12 Shavell categorizes regula-
                       tory law in terms of two basic modes of market regulation: an agency-
                       administered method of governing industries through ex ante
                       rulemaking and standard setting on the one hand, and deterrence of
                       market externalities through private litigation (as in a tort lawsuit) on
                       the other.13 Shavell theorizes that regulation through litigation is best
                       suited to areas where there are concerns about relative information
                       (as to the cost and probability of harms in relation to potential safe-
                       guard measures) and/or administrative costs.14 Bureaucratic regula-
                       tion is preferable when the likelihoods of a defendant being judgment
                       proof or of a litigant not filing suit when a harm occurs are high.15
                             The law-and-economics framework suggests the general wisdom
                       of regulatory design that employs a mix of both administrative and
                       litigative regulation.16 Since regulatory authorities must rely on imper-
                       fect information when setting and administering safety rules, bureau-
                       cratic regulation alone cannot achieve the socially optimal level of
                       care. Regulation through litigation, by itself, does not provide a suffi-
                       cient incentive for firms to achieve the socially optimal level of care.
                       There is a non-zero probability that a defendant will be unable to pay
                       for harm caused, escape detection, or otherwise evade litigation.17
                       Shavell’s model also suggests that, in mixed regulatory systems of liti-
                       gation and bureaucratic administration, bureaucratic regulators




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                       should adopt safety standards lower than they would if regulation

                           11 See, e.g., Anup Malani & Tomas J. Philipson, The Regulation of Medical Products, in
                       THE OXFORD HANDBOOK OF THE ECONOMICS OF THE BIOPHARMACEUTICAL INDUSTRY
                       100, 132–39 (Patricia M. Danzon & Sean Nicholson eds., 2012) (outlining the regulation of
                       medical products under the Federal Food, Drug, and Cosmetic Act and evaluating the
                       efficiency of layering tort liability on top of this regulatory scheme); Robert L. Rabin,
                       Tobacco Control Strategies: Past Efficacy and Future Promise, 41 LOY. L.A. L. REV. 1721,
                       1724–50 (2008) (contrasting administrative regulatory control strategies with attempts at
                       controlling tobacco through litigation).
                           12 See Shavell, supra note 8.
                           13 Id. at 357.
                           14 See id. at 365.
                           15 See id. (summarizing the conclusions drawn from his assessments of the relative
                       desirability of regulation through litigation versus bureaucratic management along four
                       dimensions).
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                           16 See generally Steven Shavell, A Model of the Optimal Use of Liability and Safety
                       Regulation, 15 RAND J. ECON. 271, 271–80 (1984) (modeling the advantage of mixed
                       liability and safety regulation regimes).
                           17 Id. at 271.


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                       were solely controlled through bureaucratic means.18 Regulation
                       through litigation will, in theory, pick up the slack of the looser
                       bureaucratic regulatory standard while allowing industry actors to
                       more efficiently tailor their level of care to their level of safety risk.19
                             Shavell’s model focuses on litigation as a regulatory tool, but
                       importantly, tort law is also a tool of corrective justice. In this
                       capacity, tort law rebalances temporary disruptions of the general dis-
                       tributional scheme that result from injustice(s) committed by one
                       party against another. If A chops down B’s tree without permission, a
                       corrective justice remedy would be some sort of compensation from A
                       to B that gives up what A unfairly benefited from B and compensates
                       B for what B unfairly lost to A. B’s tort suit against A for conversion
                       of the tree would seek a remedy of this type. Tort law thus has both a
                       compensatory and deterrent function.
                             The mix of regulation that now governs American public
                       drinking-water quality reflects insights from Shavell’s model and
                       raises important corrective justice questions. The Federal Water
                       Pollution Control Act of 1972 (Clean Water Act, 33 U.S.C. §§ 1251–
                       1387)20 and the 1974 Safe Drinking Water Act (42 U.S.C. §§ 300f–
                       300j(9))21 were both passed in response to the long-running under-
                       regulation of public water systems.22 Regulation through common-law
                       litigation had been unable to combat these externalities, as doctrinal
                       obstacles, socio-political dynamics, and lack of understanding about
                       the harms and causes of water pollution prevented injured individuals
                       from filing successful tort claims that could deter responsible
                       polluters.23
                             Each statute targeted a side of the Shavellian regulation equa-




                                                                                                                        40776-nyu_93-6 Sheet No. 167 Side A
                       tion. The Clean Water Act (CWA) regulated potential polluters by
                       establishing a prohibition on discharges into “the waters of the United

                          18 Id. at 271–72.
                          19 Id. at 276 fig.3 (illustrating the level of care taken at a certain regulatory standard
                       when bureaucratic regulatory standards and regulation through litigation are combined).
                          20 At the time of its passage, the statute was entitled the Federal Water Pollution
                       Control Act of 1972. CRAIG E. COLTEN & PETER N. SKINNER, THE ROAD TO LOVE
                       CANAL: MANAGING INDUSTRIAL WASTE BEFORE EPA 82 (1996).
                          21 See William E. Cox, Evolution of the Safe Drinking Water Act: A Search for Effective
                       Quality Assurance Strategies and Workable Concepts of Federalism, 21 WM. & MARY
                       ENVTL. L. & POL’Y REV. 69, 70–71 (1997) (discussing the origins of the Safe Drinking
                       Water Act).
                          22 See generally id. at 72–78.
                          23 See generally William L. Andreen, The Evolution of Water Pollution Control in the
                                                                                                                        12/14/2018 11:29:27




                       United States—State, Local, and Federal Efforts, 1789-1972: Part I, 22 STAN. ENVTL. L.J.
                       145, 176 n.170 (2003) [hereinafter Andreen, Part I] (discussing local nuisance actions and
                       summarizing the doctrinal obstacles to recovery); id. at 186–88 (explaining why public
                       nuisance actions were rarely raised).

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                       States” without a permit.24 While the statute enabled an elaborate
                       system of ex ante regulation, it was also an effort to ensure that pol-
                       luters would not, as they had under a private tort enforcement regime,
                       escape ex post liability for pollution. Whereas the regulatory power of
                       private tort suits had been hobbled by many courts’ refusal to find
                       that industrial or municipal discharge violated the defendant in ques-
                       tion’s duty of care,25 the CWA’s prohibition on unpermitted dis-
                       charges established a per se violation for which the defendant would
                       be liable.26 The statute’s authorization of a range of enforcement
                       mechanisms aimed to ensure the statutory obligation would have
                       teeth.27 In this way, the CWA shored up ex post enforcement.
                            On the other side of the regulatory equation, the Safe Drinking
                       Water Act (SDWA) focused on ex ante measures, laying out a system
                       for the creation of national water-quality standards with which munic-
                       ipal providers would be required to comply.28 The Act adopted a two-
                       tiered standards process: The United States Environmental Protection
                       Agency (EPA) issues National Primary Drinking Water Regulations
                       (NPDWRs) for substances with potential adverse human health
                       impacts, first as nonbinding Recommended Maximum Contaminant
                       Levels (RMCLs), and then as legally binding Maximum Contaminant
                       Levels (MCLs).29 State-level water system administrators must mon-
                       itor their water supplies for MCLs (regulated contaminants) and
                       report and correct levels in excess of the NPDWR, but are not
                       required, unless by state regulations, to monitor substances with only
                       a RMCL (unregulated contaminants).30 This two-tiered process is

                          24 See 33 U.S.C. § 1251(a) (2012) (listing the goals to restore and maintain the integrity




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                       of the country’s waters); 33 U.S.C. § 1342 (2012) (establishing the permit system); 33
                       U.S.C. § 1362(7) (2012) (“The term ‘navigable waters’ means the waters of the United
                       States, including the territorial seas.”).
                          25 See Andreen, Part I, supra note 23, at 176 n.170 (noting the obstacles to successful
                       private nuisance lawsuits); see also N. William Hines, Nor Any Drop to Drink: Public
                       Regulation of Water Quality Part I: State Pollution Control Programs, 52 IOWA L. REV.
                       186, 196–200 (1966) (documenting cases in which water-pollution tort suits were
                       unsuccessful).
                          26 See David Drelich, Restoring the Cornerstone of the Clean Water Act, 34 COLUM. J.
                       ENVTL. L. 267, 283–84 (2009), for a more detailed discussion of this point.
                          27 See William L. Andreen, The Evolution of Water Pollution Control in the United
                       States—State, Local, and Federal Efforts, 1789-1972: Part II, 22 STAN. ENVTL. L.J. 215,
                       269–70 (2003) (describing how the CWA’s permit obligation and variety of enforcement
                       mechanisms, including administrative action; judicial proceedings for injunctive relief, civil
                       damages, or even criminal sanctions; and private citizen suits, “reflected the [Senate]
                       [C]ommittee [on Public Work]’s intent to strengthen enforcement”).
                          28 See 42 U.S.C. § 300g-1 (Supp. IV 1974) (granting authority to the Administrator to
                                                                                                                         12/14/2018 11:29:27




                       promulgate regulations establishing maximum levels for contaminants).
                          29 Id. § 300g-1(b)(1)(B).
                          30 Id. § 300j-4(a) (Supp. IV 1977).


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                       designed to produce information about the risks associated with dif-
                       ferent compounds in a way that does not burden local administrators
                       with the full cost of enforcement until the EPA is confident in its
                       safety standard’s economic feasibility.
                             In addition to these statutes, the Comprehensive Environmental
                       Response, Compensation, and Liability Act (CERCLA) passed by
                       Congress in 1980, represents one more public regulatory mechanism
                       relevant to water-quality governance. Commonly dubbed
                       “Superfund,”31 CERCLA aimed to create a mechanism whereby gov-
                       ernment authorities could rapidly respond to environmental contami-
                       nation caused by hazardous waste pollution and recover the
                       associated costs through the financing from Superfund, the five-year,
                       $1.6 billion Hazardous Substances Response Trust Fund provided for
                       when the Act was first passed.32
                             CERCLA established a liability scheme which addressed two
                       limits on tort recovery through environmental litigation. First, by
                       imposing strict liability for response costs on those identified by the
                       EPA as “Potentially Responsible Parties” (PRPs), CERCLA elimi-
                       nated the obstacle of proving breach of duty.33 Second, by creating a
                       broad net of potentially liable parties including (in addition to the
                       original polluter) subsequent site owners and operators, and estab-
                       lishing a base fund derived from taxes on oil and chemical companies
                       that could be relied upon should a PRP have insufficient means, the
                       Act sought to ensure recovery regardless of whether a PRP with suffi-
                       ciently deep pockets could be located. Congress designed a liability
                       scheme that focused primarily on the compensatory function of lia-
                       bility, rather than its deterrent power.34 Indeed, in imposing a general




                                                                                                                         40776-nyu_93-6 Sheet No. 168 Side A
                           31 See 26 U.S.C. § 9507 (2012) (establishing the Hazardous Substance Superfund and
                       subsequently calling it the “Superfund”).
                           32 See MARC K. LANDY ET AL., THE ENVIRONMENTAL PROTECTION AGENCY: ASKING
                       THE WRONG QUESTIONS FROM NIXON TO CLINTON 142 (expanded ed. 1994) (describing
                       the policy design of the Superfund bill originally drafted by EPA officials).
                           33 42 U.S.C. §§ 9604, 9606, 9607 (2012) authorize the President to undertake cleanup of
                       contaminated sites and to recover costs from parties who qualify for liability under
                       § 9607(a) or to order those parties to clean up the site. These sections provide that any
                       current owner or operator of a facility, former owner or operator of a facility at the time of
                       disposal, person who arranged for treatment or disposal of hazardous substances, and
                       transporter of hazardous substances may be held liable for response costs and, if held
                       liable, shall pay for costs authorized by National Contingency Plan regulations. The EPA
                       has chosen to refer to these parties as PRPs. See U.S. EPA, EPA PRP SEARCH MANUAL 1
                       (2009), https://19january2017snapshot.epa.gov/sites/production/files/documents/prp-search-
                       man-cmp-09b.pdf (providing agency practitioners with enforcement guidance and referring
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                       to agency-identified liable parties as PRPs).
                           34 The legislative history behind CERCLA is limited. John J. Lyons, Deep Pockets and
                       CERCLA: Should Superfund Liability Be Abolished?, 6 STAN. ENVTL. L.J. 271, 282 (1987).
                       However, the history that is available suggests that the dominant concerns among the

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                       tax on potential contaminant producers as well as joint and several
                       liability upon all PRPs (even possibly nonpolluting inheritors of previ-
                       ously polluted sites), the Act diminished the deterrent effect of strict
                       liability.35 CERCLA offered regulation through liability, but in a form
                       notably distinct from that of traditional tort law.
                            Taken together, the Safe Drinking Water Act, the Clean Water
                       Act, and CERCLA reflect certain core insights from Shavell’s theory
                       of regulatory mixed systems. The SDWA embodies an administrative
                       ex ante mode of agency standard-setting regulation, and it acknowl-
                       edges one of the great challenges Shavell associated with this type of
                       regulation: the imperfect information available to regulators. Modern
                       production processes and technologies give rise to a host of substances
                       with potentially hazardous effects.36 But lacking the resources to
                       investigate the risk of every potential contaminant to the level of sci-
                       entific certainty required for regulation, the EPA must stagger its
                       research, channeling enforcement resources toward contaminants for
                       which there is a known level of risk and meanwhile gathering informa-
                       tion about a set of unregulated contaminants for which the risk of
                       harm is currently uncertain. The statute deploys this strategy in the

                       legislators debating CERCLA were ensuring compensation for government responders
                       and affected communities and addressing distributive issues as to who would pay for and
                       who would benefit from the CERCLA process. The history that is available suggests that
                       Congress “barely touched on” certain important issues. While Congressmembers were
                       well-equipped to consider how CERCLA might affect their individual constituents, they
                       were less adept at analyzing “the structure of the program as a whole.” LANDY ET AL.,
                       supra note 32, at 164. Frank P. Grad’s overview of the bill’s legislative history supports
                       these conclusions and raises no indication that the bill’s deterrent effect was discussed
                       during deliberations. See Frank P. Grad, A Legislative History of the Comprehensive




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                       Environmental Response Compensation and Liability (“Superfund”) Act of 1980, 8 COLUM.
                       J. ENVTL. L. 1 (1982). Grad’s observation that CERCLA was considered an addendum to
                       the Resource Conservation and Recovery Act (RCRA), a statute governing the
                       management and disposal of hazardous waste, suggests that deterrence may not have been
                       at the forefront of legislators’ minds, as RCRA was designed to deter future Love-Canal
                       type events through the use of ex ante regulations. Id. at 35–36 (describing the RCRA
                       connection).
                           35 See Richard A. Epstein, The Principles of Environmental Protection: The Case of
                       Superfund, 2 CATO J. 9, 25–26 (1982) (highlighting how CERCLA’s “long list” of PRPs
                       limits the “positive incentives” of the Act and reduces the cost of noncompliance to parties
                       who know they will likely be jointly liable with another payer); see also MARC K. LANDY &
                       MARY HAGUE, THE COALITION FOR WASTE: PRIVATE INTERESTS AND SUPERFUND IN
                       ENVIRONMENTAL POLITICS: PUBLIC COSTS, PRIVATE REWARDS 69 (Michael S. Greve &
                       Fred L. Smith, Jr. eds., 1992) (“Superfund’s liability scheme virtually ensures that the
                       parties’ actual contributions will stand in no discernible relation to their relative
                       responsibility.”).
                           36 See CARL F. CRANOR, LEGALLY POISONED: HOW THE LAW PUTS US AT RISK FROM
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                       TOXICANTS 6 (2011) (“Only about two percent of 62,000 substances in commerce before
                       1979 have been reviewed at all for their toxicity by the U.S. Environmental Protection
                       Agency (EPA). Of the approximately 50,000 new substances introduced since 1979, about
                       eighty-five percent had no data concerning health effects . . . .”).

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                       interest of allocating resources efficiently. Amendments to the SDWA
                       since 1972 illustrate variations in Congress’s willingness to pay to
                       reduce uncertainty and/or risk over time: Some Congresses embrace a
                       precautionary approach to risk and set ambitious goals for regulation,
                       while others ratchet back research and demonstrate willingness to live
                       with uncertain, unregulated risk.37
                            The SDWA is complemented by the modified liability schemes of
                       the Clean Water Act and Superfund. To a certain extent, these stat-
                       utes fill the void not met by regulation through litigation, for they
                       deploy ex post liability mechanisms that mimic private tort law’s tradi-
                       tional compensatory and deterrent functions. However, they differ
                       from tort liability in key ways. Clean Water Act enforcement is limited
                       by the resource constraints of local governments charged with
                       administering EPA regulations. Its deterrent power may be compro-
                       mised by these constraints.38 Further, the CWA’s civil and criminal
                       provisions do not serve the compensatory or corrective-justice func-
                       tions of tort law, for even in citizen suits, the only available remedies
                       are injunctive relief and standard daily fines that violators pay to the
                       government—not damages that can compensate individuals for their
                       specific harm suffered.39 CERCLA’s deterrent power is weakened by
                       the expansive joint and several liability for Potentially Responsible
                       Parties which the statute imposes. The central agency role in

                           37 In the decade following the Act’s enactment, adoption of safety standards proceeded
                       at a pace slower than policymakers had envisioned, and lawmakers responded in 1986 by
                       instituting a series of amendments to the SDWA which set an ambitious schedule for
                       promulgation of safety standards. See Cox, supra note 21, at 80–81. While these
                       amendments suggested a greater willingness to pay for risk knowledge and prevention, by




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                       1996 the pendulum was swinging back in the opposite direction. The aggressive regulatory
                       schedule imposed by the 1986 amendments had led to a rapid increase in regulated and
                       unregulated contaminants, at a level that outstripped state enforcers’ ability to comply. See
                       id. at 90 (“EPA estimated that the gap between state program needs and resources was
                       $162 million in 1993.”). Thus, the most recent amendments to the SDWA, from 1996,
                       ratcheted back the rate of regulation, limiting the number of unregulated contaminants
                       which could be moved to MCL status in a given five-year period and setting forth
                       provisions requiring that choices about which unregulated contaminants received MCL
                       consideration be informed by scientific research, public information, and health-risk
                       reduction and cost analysis. 42 U.S.C.A. § 300g-1(b)(3) (West Supp. 1996).
                           38 See, e.g., RIVERKEEPER, CONTAMINATION OF THE DRINKING WATER RESERVOIR
                       AND WATERSHED OF THE CITY OF NEWBURGH: A CASE STUDY AND A CALL FOR
                       COMPREHENSIVE SOURCE WATER PROTECTION 5–6 (July 2016), https://
                       www.riverkeeper.org/wp-content/uploads/2016/08/White-Paper-Newburgh-Source-Water-
                       Protection-FINAL-2.pdf (urging full enforcement of the CWA but noting that “crippling
                       budget and staffing cuts” to the New York Departments of Environmental Conservation
                       and Health “over the course of decades” constrain the law’s “effective implementation”).
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                           39 See Matthew D. Zinn, Policing Environmental Regulatory Enforcement:
                       Cooperation, Capture, and Citizen Suits, 21 STAN. ENVTL. L.J. 81, 169 (2002) (describing
                       this aspect of the statute).

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                       CERCLA actions also limits its corrective-justice/compensatory func-
                       tion because agency logic does not totally align with the harms private
                       parties affected by contamination may suffer. The public liability
                       mechanisms forming part of drinking water’s regulatory framework
                       thus diverge from the liability mechanism of traditional tort law,
                       leading to a “mixed” regulatory system, the gaps of which are brought
                       into high relief when viewed through the lens of the water-contamina-
                       tion crisis in Hoosick Falls.

                                                                     II
                                        REGULATORY BREAKDOWN                  IN   HOOSICK FALLS

                             A riverside village about thirty miles northeast of Albany,
                       Hoosick Falls became the epicenter for an emerging public-health
                       crisis after resident Michael Hickey’s test of village water samples
                       revealed high levels of the chemical perfluorooctanoic acid (PFOA), a
                       likely carcinogen,40 in March 2014.41 A compound used in Teflon and
                       other nonstick and heat-resistant products, PFOA had been a compo-
                       nent in products manufactured by the company Saint-Gobain as well
                       as its predecessor, Honeywell, at the town’s McCaffrey Street plant
                       since as early as 1986; the facility stood less than 400 yards from the
                       nearest underground well feeding Hoosick Falls’s water-treatment
                       plant.42 The village eventually tested water samples in October 2014.
                       Several exceeded EPA’s short-term exposure Provisional Health
                       Advisory (PHA), a nonbinding guidance issued by the agency’s Office
                       of Water, which declared 400 parts per trillion (ppt) of PFOA as the
                       level “above which action should be taken to reduce exposure.”43




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                             Follow-up testing confirmed elevated levels of PFOA in the
                       municipal groundwater, privately owned wells, and the groundwater

                          40 U.S. EPA, EMERGING CONTAMINANTS FACT SHEET – PFOS AND PFOA 5 (Mar.
                       2014), https://www.scribd.com/doc/301746646/Factsheet-Contaminant-Pfos-Pfoa-3-2014.
                          41 See Matthew Hamilton, Live Blog: State Senate Water Quality Hearing in Hoosick
                       Falls, TIMES UNION (Aug. 30, 2016, 6:40 PM), http://blog.timesunion.com/capitol/archives/
                       266820/live-blog-state-senate-water-quality-hearing-in-hoosick-falls/. Having lost his
                       father, who lived a “clean life,” to an aggressive form of cancer and noticing other
                       instances of cancer in the village, Hickey investigated potential sources of chemical
                       contamination in the area and identified the Saint-Gobain plastic plant. Roopal Luhana,
                       Hoosick Falls Residents Frustrated with State Response to PFOA Contamination, LEGAL
                       EXAMINER (Nov. 15, 2016, 10:00 AM), http://newyork.legalexaminer.com/toxic-substances/
                       hoosick-falls-residents-frustrated-with-state-response-to-pfoa-contamination/.
                          42 Luhana, supra note 41.
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                          43 See Hamilton, supra note 41 (indicating that the samples taken by the Village in
                       October 2014 showed levels of PFOA ranging from 180 to 540 ppt); EMERGING
                       CONTAMINANTS FACT SHEET – PFOS AND PFOA, supra note 40, at 5 (reporting on the
                       EPA’s provisional health advisory for short-term exposure to PFOA).

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                       directly below the McCaffrey Street site.44 By fall of 2015, Saint-
                       Gobain had offered to fund construction of a new water-filtration
                       system for the town and had begun supplying bottled water to the
                       community.45 Government regulators, however, provided mixed
                       messages. In December 2014, Hoosick Falls officials posted a memo
                       on the village website affirming the safety of the water supply and the
                       municipal water supplier’s compliance with federal and state regula-
                       tions.46 EPA regional administrator Judith Enck (an official of the fed-
                       eral EPA) rebuked the Village with a November 25 letter to its
                       Mayor, David Borge, noting that PFOA levels above the EPA’s advi-
                       sory level, while not enforceable, suggested the need for discontinuing
                       use of Village water for drinking or cooking; she recommended
                       changes to the Village website to accurately reflect these advisories.47
                       The state’s health department did not warn residents against drinking
                       the water until Enck’s warning was made public in December 2015.48
                            In January 2016, Village officials met with the New York
                       Department of Environmental Conservation (NYDEC) to ask about
                       requesting the EPA to list Saint-Gobain’s property as a federal
                       Superfund site. Meanwhile, New York Governor Andrew Cuomo
                       declared a state of emergency in Hoosick Falls, naming the Saint-
                       Gobain plant a state Superfund site and PFOA a hazardous sub-
                       stance.49 Using emergency regulation power to declare the plant a
                       state Superfund site, NYDEC exercised local authority to enforce
                       higher hazard standards than those adopted by the EPA and gained
                       the legal authority to finally mobilize resources for water treatment
                       and testing and bottled-water delivery in the Village.50 On March 30,




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                          44  See Hamilton, supra note 41, for the timeline of these tests and results.
                          45  Id.
                           46 Id. The memo is available to view online. See Letter from David B. Borge, Mayor,
                       Vill. of Hoosick Falls, to Hoosick Falls residents (Dec. 2014), http://
                       www.villageofhoosickfalls.com/Media/PDF/WaterLetter-122014.pdf.
                           47 Letter from Judith A. Enck, Reg’l Adm’r, U.S. EPA, to David B. Borge, Mayor, Vill.
                       of Hoosick Falls (Nov. 25, 2015), http://www.villageofhoosickfalls.com/Media/PDF/EPA-
                       PFOA-letter-112515.pdf.
                           48 Jesse McKinley, After Months of Anger in Hoosick Falls, Hearings on Tainted Water
                       Begin, N.Y. TIMES (Aug. 30, 2016), http://www.nytimes.com/2016/08/31/nyregion/hoosick-
                       falls-tainted-water-hearings.html.
                           49 See Hamilton, supra note 41 (illustrating the January 2016 federal and state
                       Superfund action).
                           50 See Governor Cuomo Announces Immediate State Action Plan to Address
                       Contamination in Hoosick Falls, N.Y. STATE (Jan. 27, 2016), https://www.governor.ny.gov/
                       news/governor-cuomo-announces-immediate-state-action-plan-address-contamination-
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                       hoosick-falls, for the press release reporting the state action. CERCLA does not preempt
                       state “mini-Superfund” designations and actions. See Robert B. McKinstry, Jr., The Role of
                       State “Little Superfunds” in Allocation and Indemnity Actions Under the Comprehensive
                       Environmental Response, Compensation, and Liability Act, 5 VILL. ENVTL. L.J. 83, 89–92

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                       2016, following implementation of comprehensive water filtration, the
                       state Department of Health declared the Village water system safe,
                       with no detectable levels of PFOA.51 In May, however, the EPA
                       released a new lifetime standard for PFOA exposure of 70 ppt in
                       drinking water, an amount far below the level found in several pre-
                       filtration Hoosick Falls water samples.52 Moreover, hundreds of the
                       over 2000 residents who received blood tests for PFOA were reported
                       to be above the EPA’s new long-term level, including some children.53
                       Residents who have consulted with state Department of Financial
                       Services officials have been further alarmed to discover radical depre-
                       ciation of their home values in the wake of the crisis.54
                             Ongoing negotiations between the Village and the companies on
                       a settlement agreement reimbursing the Village for costs associated
                       with the contamination have been hotly contested.55 In 2017, the EPA
                       declared Hoosick Falls a Superfund site under CERCLA.56 In the
                       meantime, residents are pursuing a class-action lawsuit against Saint-
                       Gobain and Honeywell, seeking recovery in the form of testing and
                       permanent filtration of private wells, a biomonitoring protocol for
                       affected residents, and damages for lost property values and other
                       remedial clean-up action, on theories of negligence, private nuisance,
                       trespass, and strict liability.57
                             Public officials are tackling the problems facing Hoosick Falls in
                       various ways. State and federal legislators have called oversight com-
                       mittees and hearings to scrutinize the state and federal government

                       (1994) (explaining the role of states in CERCLA and laying out the legal authority against
                       federal preemption of state mini-Superfunds). N.Y. ENVTL. CONSERV. LAW § 70-0116




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                       (McKinney 1986) provides for emergency authorizations by NYDEC; section 27-1313
                       authorizes NYDEC to access state funding for response actions at state-listed sites.
                          51 See Hamilton, supra note 41, for a timeline illustrating the state Department of
                       Health’s declarations of water system safety.
                          52 McKinley, supra note 48.
                          53 Id.
                          54 See Hamilton, supra note 41 (describing homeowners’ concerns about their
                       mortgages in the wake of the area’s tainted water).
                          55 The initial proposed settlement was rejected after public uproar. See Amanda Fries,
                       Village Balks at PFOA Hoosick Falls Payout: Facing Show of Opposition, Hoosick Falls
                       Board Tables Vote on $1.04M Settlement, TIMES UNION (Feb. 27, 2017, 10:55 PM), http://
                       www.timesunion.com/local/article/Village-balks-at-PFOA-Hoosick-Falls-payout-10964257.
                       php (describing the tabling of a Village board-meeting vote on a revised settlement
                       agreement, in the face of public criticism and protest).
                          56 See EPA Adds Saint-Gobain Performance Plastics Site in Hoosick Falls, N.Y. to the
                       Federal Superfund List, U.S. EPA (July 31, 2017), https://www.epa.gov/newsreleases/epa-
                       adds-saint-gobain-performance-plastics-site-hoosick-falls-ny-federal-superfund-list.
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                          57 Master Consol. Class Action Complaint ¶¶ 154–89, Baker v. Saint-Gobain
                       Performance Plastics Corp., No. 1:16-CV-917 (LEK/DJS) (N.D.N.Y. Aug. 26, 2016), 2016
                       WL 8604077.

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                       responses to Hoosick’s contamination.58 The 2017–2018 New York
                       State budget saw major investments in water-quality infrastructure
                       and passage of an act implementing greater state oversight of unregu-
                       lated contaminants in response to the regulatory problems brought to
                       light in Hoosick Falls and elsewhere.59 However, these responses,
                       while addressing core issues in the regulatory system, cannot com-
                       pletely overcome the regulatory obstacles of resource constraints and
                       scientific uncertainty inherent to the water-quality context. Hoosick
                       Falls illustrates how private tort litigation may respond to the unique
                       problems of water-quality regulation more efficiently and nimbly than
                       the proposed regulatory reforms.

                                                A. The Limits of Ex Ante Regulation
                            The Hoosick Falls case study vividly illustrates the limits of ex
                       ante regulation in a context of scientific uncertainty. Limited scientific
                       understanding of PFOA’s health risks to humans, in addition to statu-
                       tory limits on its regulation, led to a delay in public water testing and
                       recognition of a public-health emergency. Such regulatory myopia is
                       closely tied to norms about the costs of risk prevention deeply
                       ingrained in our current ex ante regulatory regime, and it thus sug-
                       gests that private and ex post liability mechanisms are critical to effec-
                       tive drinking-water regulation by making the present harms of
                       uncertain risk more concretely felt and measured.

                       1. Regulating in the Face of Scientific Uncertainty
                            Hoosick Falls’s failure to detect elevated levels of PFOA in the
                       Village drinking water supply flowed from the fact that the Village, a




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                       public water supplier serving a population of 10,000 or fewer, fell
                       within a group of municipal water providers that were not required to
                       monitor levels of the unregulated contaminant PFOA when, begin-

                          58 See, e.g., Tanja Rekhi, 19th Congressional District Candidates Square Off in TWC
                       News Debate, SPECTRUM NEWS (Oct. 25, 2016, 3:03 AM), http://www.twcnews.com/nys/
                       binghamton/news/2016/10/24/19th-congressional-district-debate-ny-19.html (describing
                       candidates’ support for an investigation into bureaucratic failings); Scott Waldman,
                       Gillibrand Meets with Hoosick Falls Residents; State Senate to Hold Hearings in August,
                       POLITICO (July 8, 2016, 6:02 PM), http://www.politico.com/states/new-york/albany/story/
                       2016/07/gillibrand-travels-to-hoosick-falls-to-call-for-hearings-as-state-senate-finally-caves-
                       to-pressure-103657 (describing U.S. Senator Kirsten Gillibrand’s support for federal
                       hearings); Rep. Gibson Calls for Congressional Investigation of Response to Rensselaer
                       County Water Contamination, REALESTATERAMA (Nov. 3, 2016), http://newyork.
                       realestaterama.com/2016/11/03/rep-gibson-calls-for-congressional-investigation-of-
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                       response-to-rensselaer-county-water-contamination-ID05242.html.
                          59 See John T. McDonald, 2017-18 Budget Update – Clean Water Infrastructure, TIMES
                       UNION (Apr. 17, 2017, 4:30 PM), https://blog.timesunion.com/johnmcdonald/2017-18-
                       budget-update-clean-water-infrastructure/4582/.

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                       ning in January 2013, the EPA instituted mandatory testing for the
                       chemical.60 Yet, the story of PFOA contamination in Hoosick Falls
                       likely dates to long before 2013. Manufacturing involving PFOA may
                       have occurred on the site as early as the 1980s.61 Scientific uncertainty
                       prompted the time lag between PFOA’s introduction on the market
                       and its inchoate regulation by EPA—and the consequent emergence
                       of PFOA contamination as a public health crisis.62
                             PFOA is one of the so-called “endocrine disrupters” whose
                       potential health concerns began to receive widespread attention in the
                       1990s.63 Congress took action with a 1996 amendment to the Food,
                       Drug, and Cosmetic Act that directed the EPA to study low-level
                       effects of these compounds.64 Yet, it was not until 2006 that the EPA
                       took steps clearly signaling concern with PFOA use, first launching a
                       “stewardship program” in cooperation with eight major producers of
                       PFOA to phase out its production and emissions entirely by 2015 and
                       then issuing a Science Advisory Board statement that PFOA was
                       “likely to be carcinogenic to humans.”65 In 2008, an EPA enforcement
                       action against DuPont, the primary producer of PFOA, revealed that
                       the company had failed to disclose risk information about the chem-
                       ical, required by Toxic Substance Control Act section 8(e).66 The EPA
                       announced that it would investigate the human health effects of expo-

                          60 See Monitoring Unregulated Drinking Water Contaminants: Third Unregulated
                       Contaminant Monitoring Rule, U.S. EPA, https://www.epa.gov/dwucmr/third-unregulated-
                       contaminant-monitoring-rule (last visited July 31, 2018), for a list of unregulated
                       contaminants to be monitored by a representative sample of Public Water Suppliers
                       serving 10,000 or fewer individuals. The representative sample did not include Hoosick
                       Falls. See Monitoring Unregulated Drinking Water Contaminants: Occurrence Data for the




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                       Unregulated Contaminant Monitoring Rule, U.S. EPA, https://www.epa.gov/dwucmr/
                       occurrence-data-unregulated-contaminant-monitoring-rule#3 (last visited Sept. 16, 2018)
                       (download the UCMR 3 Occurrence Data spreadsheet). A review of the compiled data
                       indicates that Hoosick Falls was not part of the representative sample.
                          61 See Hamilton, supra note 41 (timeline indicating plastics production on the
                       McCaffrey Street site since as early as 1986 and widespread use of PFOA in plastics since
                       the 1940s).
                          62 See CRANOR, supra note 36.
                          63 Bruce J. Berger & Michael L. Junk, Endocrine Disrupters: The Potential Cloud of
                       Manufacturer Toxic Tort Liability, 74 DEF. COUNS. J. 106, 106 (2007).
                          64 Id. at 106 n.2.
                          65 See Assessing and Managing Chemicals Under TSCA: Fact Sheet: 2010/2015 PFOA
                       Stewardship Program, U.S. EPA, https://www.epa.gov/assessing-and-managing-chemicals-
                       under-tsca/fact-sheet-20102015-pfoa-stewardship-program (last visited July 31, 2018), for
                       the agency’s account of the stewardship program. See EMERGING CONTAMINANTS FACT
                       SHEET – PFOS AND PFOA, supra note 40, at 5, for a reference to the Science Advisory
                       Board report.
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                          66 OFFICE OF CIVIL ENF’T, U.S. EPA, ENFORCEMENT ALERT: FAILURE TO REPORT
                       CHEMICAL RISKS CAN RESULT IN MAJOR FINES: SECTION 8(E) OF THE TOXIC SUBSTANCES
                       CONTROL ACT 1 (2008), http://www.epa.gov/compliance/resources/newsletters/civil/
                       enfalert/8e-tsca-0807.pdf.

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                       sure to PFOA as a result of DuPont’s disclosure, but the agency has
                       yet to set binding regulations on the chemical in any of the areas over
                       which it exercises jurisdiction.67
                             The EPA’s hesitance to set regulatory standards for PFOA flows
                       from norms encoded in the statutes that authorize the EPA to regulate
                       compounds such as PFOA. In contrast to the pharmaceutical, pesti-
                       cide, and food-additive industries—which must attain some form of
                       premarket clearance from government regulators—the chemical
                       industry is subject only to “postmarket” regulation.68 The negative
                       health effects of new chemicals frequently emerge only after years of
                       exposure and with such subtlety that it is difficult to isolate them from
                       normal variations in human health. Thus, establishing the conclusive
                       proof necessary to justify postmarket regulation often poses a signifi-
                       cant barrier to agency action.69
                             In the case of PFOA, while the EPA has compiled a number of
                       studies showing adverse health effects in animals and suggesting the
                       compound’s carcinogenicity for humans, evidence from human studies
                       remains insufficient to establish toxicity to the degree of certainty nec-
                       essary for more aggressive regulation.70 This helps explain why PFOA
                       was not listed as an unregulated contaminant until the SDWA’s third
                       listing in 2012, despite evidence as early as January 2009 sufficient to
                       justify EPA’s issuance of a provisional short-run health advisory for
                       PFOA exposure in drinking water. In keeping with the SDWA’s stag-
                       gered system of information gathering and regulation, the agency
                       relied on a provisional health advisory to provide stopgap caution
                       until it could marshal the resources to establish PFOA’s risk level.71
                       Because the statutes regulating PFOA place a burden of knowledge




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                       production on public regulators before regulatory costs are imposed
                       on industry and water systems, harmful compounds with ultimate,

                          67 See EMERGING CONTAMINANTS FACT SHEET – PFOS AND PFOA, supra note 40, at
                       5–6 (listing federal guidelines regarding PFOA, none of which are binding regulations).
                          68 CRANOR, supra note 36.
                          69 See id. at 47–80 (describing the challenges of proving health effects in humans caused
                       by industrial molecules and arguing that given these challenges, human studies should not
                       be a necessary condition to their regulation).
                          70 See EMERGING CONTAMINANTS FACT SHEET – PFOS AND PFOA, supra note 40, at 5
                       (describing studies and noting need for further analysis).
                          71 See 42 U.S.C. § 300g-1(b)(1)(F) (2012) (“The Administrator may publish health
                       advisories (which are not regulations) or take other appropriate actions for contaminants
                       not subject to any national primary drinking water regulation.”). See Cox, supra note 21, at
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                       90-91 for a description of how the 1996 SDWA amendments, motivated by a desire to
                       promote more efficient use of resources, slowed the pace of the SDWA’s “regulatory
                       treadmill” and “established a more rational decisionmaking process” through provisions
                       found in § 300g-1(b).

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                       though initially uncertain, risks tend to escape public regulation until
                       it is too late to prevent their negative health effects.

                       2. Complications of Federalist Governance
                             Despite federal laws which set a high standard for scientific cer-
                       tainty before binding regulations may be set,72 the federalist structure
                       of environmental regulation allows localities to enact and enforce
                       stricter environmental guidelines and standards within the bounds of
                       discretion granted them by local law. This presents a possible solution
                       to the under-regulation of compounds for which EPA cannot meet
                       scientific production burdens: Not every locality need regulate these
                       compounds, but communities where such compounds are particularly
                       prevalent might voluntarily take on the cost of regulating their uncer-
                       tain risk. For example, localities such as Hoosick Falls, where local
                       industry makes PFOA a more likely pollutant, might have a higher
                       willingness to pay for regulation of the uncertainly risky compound.73
                             The failure of Hoosick’s water managers not to test for PFOA
                       once it was identified as an unregulated contaminant, even if they
                       were not required to do so, is consistent with long-running accounts of
                       the disconnect between federal and local regulators. Complaints that
                       earlier, more extensive monitoring requirements constituted
                       “unfunded mandates” forced upon state regulators by the federal gov-
                       ernment motivated the SDWA’s most recent round of amendments.74
                       The amendments, which reduced the unregulated contaminant moni-
                       toring requirements for public water systems serving 10,000 people or
                       less (like Hoosick’s), were spurred by reports from the Government
                       Accountability Office (GAO) that observed “[f]unding shortages at




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                       the federal, state, and water system level” contributing to widespread
                       noncompliance by state enforcers.75 Such funding constraints may
                       have prompted Hoosick’s water managers to, by default, regulate at
                       the minimum level required by the EPA. And their approach would

                          72 See supra notes 38–39 and accompanying text.
                          73 Indeed, although New York had not instituted any guidelines regarding PFOA,
                       neighboring New Jersey—as well as two other states—issued local guidelines about
                       acceptable levels of PFOA in drinking water and groundwater between 2006 and 2013. See
                       EMERGING CONTAMINANTS FACT SHEET – PFOS AND PFOA, supra note 40, at 5
                       (discussing guidelines instituted in New Jersey, Minnesota, and North Carolina).
                          74 See Rena I. Steinzor, Unfunded Environmental Mandates and the “New (New)
                       Federalism”: Devolution, Revolution, or Reform?, 81 MINN. L. REV. 97, 184–85, 185 n.281
                       (1996) (noting repeated citations of SDWA requirements by members of Congress as
                       examples of “onerous and unnecessary federal mandates during the floor debate over the
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                       Unfunded Mandates Reform Act of 1995”).
                          75 Id. at 194–95 (quoting U.S. GOV’T ACCOUNTABILITY OFF., GAO/RCED-92-184,
                       DRINKING WATER: WIDENING GAP BETWEEN NEEDS AND AVAILABLE RESOURCES
                       THREATENS VITAL EPA PROGRAM 2 (1992)).

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                       not be exceptional: Only three states issued local guidelines about
                       acceptable levels of PFOA in drinking water and groundwater
                       between 2006 and 2013, and they did so after experiencing their own
                       PFOA contamination scares.76 In these jurisdictions, as in New York,
                       the uncertain risk of PFOA only merited extra cautionary measures
                       once a concrete contamination event made PFOA’s health risks an
                       immediate concern.
                            The back-and-forth between federal and state regulators after
                       Hoosick Falls residents prompted PFOA testing evidenced a disjunc-
                       tion between the significance local regulators attached to the EPA’s
                       advisory guidelines and the significance those guidelines held for fed-
                       eral regulators. In a memo originally published to the Village’s web-
                       site in December 2014, Mayor David Borge assured residents that
                       “[n]either the County [Department of Health (DOH)], the State
                       DOH, nor the Federal EPA has set minimum standards for exposure
                       to [PFOA]. The EPA is in the data collection phase only.”77 Judith
                       Enck’s November 25 missive took issue with this language, requesting
                       that the sentence “[t]he EPA is in the data collection phase only” be
                       deleted, and explaining at length the public health measures the EPA
                       recommended be taken in the case of levels above its advisory recom-
                       mendation.78 Enck acknowledged the advisory level was not enforce-
                       able, but asserted that “[p]rovisional health advisories represent
                       reasonable, health-based hazard concentrations above which action
                       should be taken to reduce exposure to unregulated contaminants in
                       drinking water.”79 When local regulators saw themselves caught off-
                       guard by a contaminant for which they were not legally bound to test,
                       they emphasized the nonbinding, nondefinitive quality of current fed-




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                       eral regulations over PFOA. By contrast, the Federal EPA, unable to
                       produce evidence of health effects at the level of scientific certainty

                          76 Guidelines were issued in North Carolina in 2006, Minnesota in 2011, and North
                       Carolina in 2013. EMERGING CONTAMINANTS FACT SHEET – PFOS AND PFOA, supra note
                       40, at 5. In 2004, officials in Minnesota discovered contaminated drinking water supplies
                       surrounding the dumpsite of a major manufacturer. Perfluorochemicals (PFCs), MINN.
                       POLLUTION CONTROL AGENCY, https://www.pca.state.mn.us/waste/perfluorochemicals-pfcs
                       (last visited Aug. 15, 2018). The other states’ agencies are less open about the reasons for
                       establishing PFOA guidances, but at least one advocacy group attributes them to their
                       “extensive PFOA contamination.” Press Release, Pub. Emps. for Envtl. Responsibility,
                       North Carolina Poised to Take a Dive on PFOA Contamination: Proposed Standards
                       Substantially Weaker than Health Guidance in Other States (June 1, 2010), https://
                       www.peer.org/news/news-releases/north-carolina-poised-to-take-a-dive-on-pfoa-
                       contamination.html (referring to contamination in Minnesota, West Virginia, New Jersey,
                       and North Carolina).
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                          77 Letter from David B. Borge to Hoosick Falls residents, supra note 46.
                          78 Letter from Judith A. Enck to David B. Borge, supra note 47.
                          79 Id. at 1.


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                       required for binding regulation, imbued the provisional advisory with
                       the kind of weight more typically associated with a hard enforcement
                       standard.80 These divergent state and federal understandings of the
                       provisional advisory illustrate a tension within the ex ante regulatory
                       scheme as to how uncertain risks should be approached.
                            Public outrage over the halting regulatory response to PFOA
                       contamination has focused attention on the bureaucratic miscom-
                       munications and misunderstandings of state and federal regulators.
                       While troubling, these regulatory shortcomings are nevertheless a red
                       herring for a bigger problem playing out in Hoosick Falls: Even if
                       Village water managers had started testing for PFOA as early as 2006,
                       when the EPA issued its provisional health advisory, and had been
                       able to mitigate effects of contamination through earlier detection and
                       response, it is likely that significant public health concerns would still
                       be present. PFOA was part of production processes at the McCaffrey
                       Street facility as early as 1986, and possibly earlier, given that the site
                       has housed manufacturers since 1956 and PFOA has been used in
                       industrial and household products since the 1940s.81 The chemical is
                       notable for its lengthy half-life and bioaccumulating properties.82 As a
                       result, even if PFOA contamination had been detected in 2006 rather
                       than in 2014, it seems likely that contamination levels, even at that
                       early point, would have exceeded the EPA’s provisional advisory and
                       would have given rise to significant accumulations of PFOA in the
                       bodies of Hoosick’s groundwater users. This is not to say that there is
                       not space for improvement in the federal-state regulatory division of
                       labor.83 The point, rather, is to highlight how limited ex ante regula-




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                          80 Compare Enck’s language in the letter cited supra note 47, with that the EPA uses to
                       describe regulated contaminants on its website: NPDWRs “[p]rotect drinking water quality
                       by limiting the levels of specific contaminants that can adversely affect public health and
                       are known or anticipated to occur in water from public water systems.” How EPA
                       Regulates Drinking Water Contaminants, U.S. EPA (emphases added), https://
                       www.epa.gov/dwregdev/how-epa-regulates-drinking-water-contaminants (last visited Sept.
                       16, 2018).
                          81 See Hamilton, supra note 41 (providing a timeline indicating manufacturing at
                       McCaffrey Street since 1956 and PFOA use since the 1940s).
                          82 PFOA’s half-life in water has been calculated to last more than ninety-two years, and
                       studies in humans have indicated a half-life of PFOA in the human body ranging from two
                       to nine years. EMERGING CONTAMINANTS FACT SHEET – PFOS AND PFOA, supra note 40,
                       at 2, 4. Perfluorinated compounds such as PFOA are formed with particularly tightly
                       bound fluorine atoms, leading to their long half-life in humans and near non-
                       biodegradability. CRANOR, supra note 36, at 37–38.
                          83 For a proposal aiming to force accountability for water-quality governance at both
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                       state and federal levels, see Dana, supra note 4, at 35 (concluding that the author’s
                       proposed institutional and testing disclosure reforms would give greater political salience
                       to water issues at the state and federal level). In a similar vein, Daniel C. Esty argues that
                       fine-tuning federalism is less important to effective environmental governance than is

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                       tion of less certain risks can lead to regulatory slack with respect to
                       potential toxins whose effects are expected to emerge over long
                       periods of time.

                                B. Ex Post Liability as a Means to Fill Regulatory Slack
                            Prevailing norms limit the resources that may be devoted to ex
                       ante regulation of uncertain risks; thus, national drinking water safety
                       standards likely fall below the level that would be optimal if bureau-
                       cratic regulation was the only mode of regulation in play. Shavell’s
                       model indicates that regulation through liability can take up the resul-
                       tant regulatory slack.84 The case study of Hoosick Falls, however, illus-
                       trates how public liability mechanisms fall short of fulfilling all the
                       functions served by private litigation.

                       1. Limits of Clean Water Act Liability
                            A liability regime could make the shortcomings of ex ante regula-
                       tion under the SDWA a moot point by deterring pollution that causes
                       drinking-water contamination in the first place. The CWA provides
                       such a mechanism, levying fines on those who discharge pollutants
                       into the nation’s waterways without a permit.85 It does not appear that
                       companies manufacturing at McCaffrey Street ever received a permit
                       for discharges made at the site,86 but the concentrations of PFOA

                       fostering an effective mix of competitive pressures and regulatory collaboration between
                       governing agents. See Daniel C. Esty, Toward Optimal Environmental Governance, 74
                       N.Y.U. L. REV. 1495 (1999).
                           84 See Catherine Sharkey, Tort as Backstop to Regulation in the Face of Uncertainty,




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                       JOTWELL: TORTS (Nov. 26, 2013), http://torts.jotwell.com/tort-as-backstop-to-regulation-
                       in-the-face-of-uncertainty/ (reviewing Thomas Merrill & David Schizer, The Shale Oil and
                       Gas Revolution, Hydraulic Fracturing, and Water Contamination: A Regulatory Strategy
                       (Columbia Law & Econ., Working Paper No. 440, 2013)), for discussion of a proposed
                       regulatory framework for fracking that “stand[s] on the shoulders of” Shavell in suggesting
                       that tort law may be a more dynamic and responsive regulatory tool in contexts of scientific
                       uncertainty.
                           85 The federal law has been interpreted not to include discharge into groundwater
                       sources, but New York State’s version of the CWA holds polluters liable for discharge into
                       groundwater. Richard Thomas, The European Directive on the Protection of Groundwater:
                       A Model for the United States, 26 PACE ENVTL. L. REV. 259, 266 n.52 (2009).
                           86 A May 17, 2017 search by the author of current NYDEC issued permits revealed no
                       record of discharge permits issued to occupants of the McCaffrey Street site. The permit
                       catalog may be accessed at https://www.dropbox.com/sh/hz3spt98h4d88ue/
                       AADmNLcYxcpZQFeWUNAxGMi9a?dl=0. Select the “IndexSPDES” spreadsheet.
                       Navigate to the section listing permits issued within the municipality of Hoosick. None of
                       the listed permit recipients are either current or former occupants of the McCaffrey Street
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                       site or an alias for the current or former occupants. Plaintiffs’ complaint alleges that site
                       occupants have discharged their industrial wastewater through floor drains into the soil
                       and, thus, to the groundwater aquifer below. Master Consol. Class Action Complaint,
                       supra note 57, at ¶¶ 60–84. Under the broad interpretations granted “point source” and

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                       found in Hoosick Falls’s water supply make it plausible that illegal
                       discharges occurred without enforcement action by state regulators.87
                       As Shavell noted, the deterrent effect of a liability regime is only as
                       good as the probability of enforcement. In the case of the CWA, New
                       York advocacy organizations have argued that this probability is low
                       because of NYDEC’s chronic understaffing and underfunding, as well
                       as their “highly flawed permitting practices.”88 Indeed, throughout the
                       state’s emergency response to Hoosick’s contamination, no mention
                       has been made of potential CWA liability for either Honeywell or
                       Saint-Gobain, although the two companies have been identified as
                       responsible parties in CERCLA and state Superfund actions. Under-
                       enforcement of the CWA may be diluting its deterrent effect.

                       2. Shortcomings of CERCLA Liability
                            Why the threat of CERCLA liability was insufficient to deter
                       PFOA discharge into Hoosick Falls’s groundwater is less clear.
                       CERCLA cleanup costs are widely recognized as burdensome;
                       indeed, the program’s power to deter property transactions involving
                       transfers of potential CERCLA liability has been documented.89 It
                       may be that PRPs with “deep pockets” have an incentive not to volun-
                       tarily clean up or even alert authorities of contamination when a
                       CERCLA action seems unlikely, as voluntary action could unleash
                       potentially immense CERCLA liability costs which would otherwise
                       go untriggered.90 Thus, a deep-pocket PFOA polluter in the 1990s
                       could plausibly regard the risk of later CERCLA action as low, based
                       on the uncertainty of the chemical’s health effects as well as the likely
                       lag time between the compound’s introduction into the environment




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                       and the emergence of measurable health effects. Following this logic,

                       “discharge” in New York’s version of the CWA, such conduct would presumably require a
                       permit. For an overview of how statutory definitions have been interpreted, see N.Y.
                       ENVTL. CONSERV. LAW § 17-0105 Practice Commentaries (MCKINNEY).
                          87 This is the allegation made by class-action plaintiffs. See Master Consol. Class Action
                       Complaint, supra note 57, at ¶¶ 60–84 (describing alleged discharges made by defendants).
                          88 Stop Polluters, RIVERKEEPER, https://www.riverkeeper.org/campaigns/stop-polluters/
                       (last visited Aug. 16, 2018) (noting in the “Pollution Enforcement” subsection that ninety
                       percent of New York State’s discharging facilities are not receiving permitting scrutiny
                       required by the CWA).
                          89 See, e.g., Daniel E. Feder, The Undefined Parameters of Lessee Liability Under the
                       Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA): A
                       Trap for the Unwary Lender, 19 ENVTL. L. 257 (1988) (warning of potential liabilities that
                       lenders may face if lending to lessees of real property covered by CERCLA).
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                          90 See Michael J. Gergen, The Failed Promise of the “Polluter Pays” Principle: An
                       Economic Analysis of Landowner Liability for Hazardous Waste, 69 N.Y.U. L. REV. 624,
                       674–76 (1994) (explaining why “deep pockets” found jointly and severally liable with
                       “empty pockets” under CERCLA will be motivated not to report contamination).

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                       Saint-Gobain’s internal decision to quietly phase out PFOA use in
                       200391 may have been the most cost-effective move as signs of PFOA’s
                       potential health risks became more convincing and the threat of later
                       CERCLA liability became a greater possibility. Whatever the case, at
                       the time PFOA was in wide manufacturing use, the firms that used it
                       do not appear to have anticipated future costs of their pollution at
                       sufficient magnitude or probability to justify whatever burden was
                       necessary to avoid future liability—CERCLA’s deterrent effect was
                       not enough to prevent PFOA contamination.
                            Although inadequate as a deterrent, CERCLA, along with the
                       New York State Superfund law, promises to compensate municipali-
                       ties and affected residents—but only for removal and remedial costs
                       authorized by the agency. The extent of the compensation PRPs are
                       obligated to provide can be shaped through negotiations between reg-
                       ulators and PRPs. In Hoosick Falls, state Superfund proceedings have
                       led to two consent orders between Saint-Gobain and Honeywell and
                       the NYDEC, obligating the companies to: reimburse the state for
                       response costs, fund a permanent water filtration system for the
                       Village, investigate alternative water sources as part of the state
                       Superfund program’s required Remedial Investigation and Feasibility
                       Study, and negotiate with the Village regarding reimbursement for the
                       Village’s past costs.92 However, the orders do not obligate the compa-
                       nies to fund medical biomonitoring programs for residents with ele-
                       vated levels of PFOA in their bloodstreams, nor do they address the
                       losses in property values measured as a result of the contamination
                       scare93—both of which are components of the damages sought by




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                          91 See Brendan J. Lyons, State Was Notified of PFOA Pollution in Rensselaer County in
                       2005, TIMES UNION (Feb. 29, 2016, 12:55 PM), http://www.timesunion.com/tuplus-local/
                       article/State-was-notified-of-PFOA-pollution-in-6855901.php (recounting a Saint-Gobain
                       spokesperson’s report that the company began phasing out its use of PFOA in 2003).
                          92 Press Release, N.Y. State Dep’t of Envtl. Conservation, New York State Department
                       of Environmental Conservation Secures Agreement That Holds Saint Gobain &
                       Honeywell Responsible for PFOA Contamination in Hoosick Falls Area (June 3, 2016),
                       http://www.dec.ny.gov/press/106463.html; see also Order on Consent and Administrative
                       Settlement at 8–9, Saint-Gobain Performance Plastics Corp., No. CO 4-20160212-18 (N.Y.
                       State Dep’t of Envtl. Conservation State Superfund Program June 3, 2016), http://
                       www.dec.ny.gov/docs/regions_pdf/stgobainco632016.pdf (discussing obligations to pay past
                       costs, including negotiation with the Village); Order on Consent and Administrative
                       Settlement, Honeywell Int’l Inc., No. CO 4-20160415-79 (N.Y. State Dep’t of Envtl.
                       Conservation State Superfund Program June 3, 2016), http://www.dec.ny.gov/docs/
                       regions_pdf/oakmatorder.pdf.
                          93 See Order on Consent and Administrative Settlement at 4–9, Saint-Gobain
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                       Performance Plastics Corp., No. CO 4-20160212-18 (N.Y. State Dep’t of Envtl.
                       Conservation State Superfund Program June 3, 2016), http://www.dec.ny.gov/docs/
                       regions_pdf/stgobainco632016.pdf (statement of obligations not including medical
                       monitoring or property damage compensation); Order on Consent and Administrative

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                       plaintiff residents of Hoosick Falls in their class action against Saint-
                       Gobain and Honeywell.94
                            Negotiations between the companies and the Village illustrate
                       not only the power that PRPs dealing with Superfund-inexperienced
                       players can exercise in negotiating down their costs, but also
                       CERCLA’s limited power to deter polluters, frustrating affected par-
                       ties’ corrective justice demands. The first settlement agreement
                       reached between the Village and companies received public criticism
                       when it promised payment of $850,000 for Village expenses incurred
                       because of contamination and waived the Village’s right to file any
                       additional claims against the companies in relation to PFOA contami-
                       nation.95 That settlement agreement was tabled by the Village Board
                       after meeting fierce opposition from residents.96 A second package
                       providing $1.04 million in compensation and also waiving the Village’s
                       right to bring future claims against the companies received criticism
                       from high-profile individuals such as former EPA Administrator Enck
                       and Senator Kirsten Gillibrand; it was also rejected.97 The Village,
                       unable to negotiate a satisfactory settlement with the companies,
                       voted earlier this year to file suit against them.98 Tellingly, after
                       finding itself powerless to satisfy public demands for corrective justice
                       and compensatory remedies through CERCLA negotiations, the
                       Village is fighting to retain its power to utilize litigation remedies.




                       Settlement at 3–4, Honeywell Int’l Inc., No. CO 4-20160415-79 (N.Y. State Dep’t of Envtl.
                       Conservation State Superfund Program June 3, 2016), http://www.dec.ny.gov/docs/




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                       regions_pdf/oakmatorder.pdf (same).
                          94 Master Consol. Class Action Complaint, supra note 57, at ¶¶ 135, 186–89 (seeking
                       biomedical monitoring and property damage-based damages).
                          95 See Brendan J. Lyons, No Future Claims in Hoosick Falls Settlement Proposal:
                       $850,000 Settlement Includes $410,000 for Attorneys and PR Advice, TIMESUNION (Jan. 10,
                       2017, 11:31 PM), http://www.timesunion.com/local/article/Hoosick-Falls-releases-
                       settlement-with-companies-10847350.php (quoting critiques from public advocates and
                       attorneys regarding the waiver of any future legal claims).
                          96 See Terry Stackhouse, Hoosick Falls Considers Revised Agreement with Saint
                       Gobain, Honeywell for PFOA Contamination, SPECTRUM NEWS (Feb. 22, 2017, 10:28 PM),
                       http://spectrumlocalnews.com/nys/capital-region/news/2017/02/22/hoosick-falls-settlement-
                       meeting (noting that the village’s board of overseers tabled a decision on the settlement
                       “due to overwhelming opposition”).
                          97 See Amanda Fries, Village Balks at PFOA Hoosick Falls Payout: Facing Show of
                       Opposition, Hoosick Falls Board Tables Vote on $1.04M Settlement, TIMESUNION (Feb. 27,
                       2017, 10:55 PM), http://www.timesunion.com/local/article/Village-balks-at-PFOA-Hoosick-
                       Falls-payout-10964257.php.
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                          98 Wendy Liberatore, Hoosick Falls Board Votes to Proceed with PFOA Lawsuits,
                       TIMES UNION (Jan. 9, 2018, 10:49 PM), https://www.timesunion.com/news/article/Village-
                       officials-vote-to-sue-PFOA-polluters-12486059.php.

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                       3. Possibility for Tort Liability to Step In
                            In the wake of Hoosick Falls’s crisis and PFOA contamination
                       scares across the country, various legislative proposals have been
                       made and executive action taken to address shortcomings now per-
                       ceived in water-quality governance mechanisms. A first-level response
                       has been to authorize stricter regulation of PFOA. By declaring
                       PFOA a hazardous substance in January 2016, for example, New York
                       Governor Andrew Cuomo made state regulation of the compound
                       possible, even though scientific uncertainty as to the chemical’s health
                       effects officially persists at the federal level.99 In 2017, New Jersey,
                       another state that has dealt with PFOA contamination discoveries,
                       became the first state to regulate PFOA at a binding Maximum
                       Contaminant Level of 14 ppt, a more conservative threshold than the
                       70 ppt lifetime advisory now recommended by the EPA.100 These
                       responses vividly illustrate how, once the uncertain risk posed by
                       PFOA contamination is realized as an actual threat within a commu-
                       nity, political will to bear greater regulatory costs emerges.
                            In Hoosick, the public uproar over the conflict between federal
                       EPA and state environmental authorities forced state regulators to act
                       and underlined the disconnect between regulators’ tolerance for
                       uncertain risk and the tolerance for such risk among affected commu-
                       nity members. After Governor Cuomo issued emergency guidelines
                       regarding PFOA in Hoosick Falls, he suggested that miscommunica-
                       tion and misinformation had contributed to overblown public fears,
                       seeming to imply that the level of anxiety in Hoosick outstripped the
                       actual risk to which the PFOA contamination subjected villagers.101
                       Yet Cuomo’s characterization of public worries as overblown is diffi-




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                       cult to square with the reality faced by Hoosick’s residents. They have
                       discovered that the water in which they bathed, cooked their food,
                       and washed their belongings—and which they drank for at least the
                       previous ten years—has been increasingly contaminated by a com-
                          99 See supra notes 51–52 and accompanying text.
                         100 See Press Release, N.J. Dep’t of Envtl. Conservation, Christie Administration Takes
                       Action to Enhance Protection of New Jersey’s Drinking Water (Nov. 1, 2017), https://
                       www.nj.gov/dep/newsrel/2017/17_0104.htm.
                         101 See Brendan J. Lyons & Casey Seiler, New York to Declare Superfund Site in
                       Hoosick Falls over Water Pollution: Private Meeting in Governor’s Executive Office
                       Wednesday Afternoon, TIMES UNION (Jan. 28, 2016, 9:35 AM), http://www.timesunion.com/
                       local/article/Governor-meets-with-Hoosick-Falls-officials-over-6788137.php (quoting
                       Governor Cuomo as saying, “In Hoosick Falls there was misinformation, conflicting
                       information, and it appeared to be a situation that was getting out of control, and people
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                       [were] getting anxious. After anxiety comes anger, and the misinformation in and of itself
                       can be destructive.”). Governor Cuomo also likened the situation to “the state’s recent
                       experiences with the Ebola virus and Legionnaires Disease, situations in which the impact
                       of very real health threats were worsened by sometimes overblown public fears.” Id.

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                       pound the EPA Science Advisory Board has found to be a likely car-
                       cinogen in humans, with various other potential health effects.102
                       Sheltered from the direct effects of contamination—not only in terms
                       of health, but also in terms of politics—officials like Cuomo as well as
                       the industrial defendants may find it easier to focus on the uncertainty
                       of PFOA’s health risks (and effectively abdicate responsibility for reg-
                       ulating the compound on those grounds) than on individuals whose
                       bodies now contain elevated levels of PFOA.103 This divergence
                       between ex ante regulators’ and officials’ appreciation of uncertain
                       risk and that of those whose lives are directly touched by the risk
                       speaks to a fundamental disconnect between the ex ante regulatory
                       systems in place and the individuals they are meant to protect.
                            While carrying the potential to decrease the likelihood of another
                       Hoosick Falls-type contamination, calls to invest in water-system
                       infrastructure and to beef up state and federal water-quality regula-
                       tory laws ultimately have a limited capacity to prevent such crises—
                       for the scope of potential risk to be regulated will almost inevitably
                       exceed the finite resources invested in ex ante regulation. There is a
                       widely accepted need for the two-billion-dollar investment in clean-
                       water infrastructure and water-quality protection that Governor
                       Cuomo proposed in his State of the State address, for example,104 but
                       even a package that provides for municipal filtration for regulated and
                       unregulated contaminants, as Cuomo promises, doesn’t provide a
                       safeguard against the range of potential contaminants which are
                       neither regulated nor unregulated by the federal government—that is,
                       those that have not even been identified by the government.105 A bill
                       proposed by state Republicans to create a state “Water Quality




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                       Institute”—which would make recommendations to the state
                       Department of Health regarding water quality standards that might be

                         102   See infra Part II.
                         103   Cf. Dana, supra note 4, at 5–7, 13–16 (outlining what he calls the “abdication trap,”
                       discussing and dismissing as its cause “a normative view on the part of state leaders that
                       local water quality is simply an issue for localities,” and arguing that abdication is
                       ultimately a result of political calculus).
                          104 See, e.g., Elizabeth Moran, Investing in Clean Water, ENVTL. ADVOCATES N.Y. (Feb.
                       27, 2017, 6:16 PM), https://www.eany.org/our-work/team-blogs/investing-clean-water
                       (observing “[p]oliticians from both sides of the aisle . . . one-upping each other to offer
                       billions in funding for water projects”).
                          105 For the Governor’s proposal, see Press Release, Governor’s Press Office, N.Y. State,
                       Governor Cuomo Presents the 17th Proposal of 2017 State of the State: Invest $2 Billion in
                       Clean Water Infrastructure and Water Quality Protection (Jan. 9, 2017), https://
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                       www.governor.ny.gov/news/governor-cuomo-presents-17th-proposal-2017-state-state-
                       invest-2-billion-clean-water. The plan calls for “[i]nstalling advanced treatment and
                       filtration systems to treat and remove both regulated and unregulated contaminants found
                       in drinking water.” Id.

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                       more rigorous than the baseline federal standard—directly responds
                       to the perceived regulatory failing in Hoosick Falls by giving the state
                       a means to force regulation of contaminants for which regulation
                       would only be optional under federal law.106 Yet, a regulatory body of
                       this kind will face the same sort of constraints that the EPA standard-
                       setters face: Since it lacks the time and resources to set standards for
                       all potential risks, the Institute will have to prioritize its research and
                       set thresholds of uncertainty that maximize its regulatory benefits.
                       Further, the Institute will have to make such prioritization decisions
                       based on imperfect information about potential risks. The scientific
                       uncertainty surrounding a vast number of compounds like PFOA
                       makes the public health threat posed by these compounds almost
                       impossible to satisfactorily account for through ex ante public
                       regulation.
                            As Hoosick Falls’s experience suggests, public liability mecha-
                       nisms do not sufficiently deter conduct such that the slack created by
                       scientifically constrained ex ante regulatory mechanisms is taken up.
                       One response might be to revise or reform CERCLA and the CWA to
                       increase their effectiveness.107 While such proposals are certainly
                       worth considering, this paper does not focus on CERCLA and/or
                       CWA reform, for two main reasons. First, the political will necessary
                       for such reforms is lacking. Notably, in the responses to Hoosick Falls,
                       no proposals have suggested changes to the CWA or its implementa-
                       tion, nor to Superfund legislation.108 The political focus has instead
                       been on investing in local regulators and water infrastructure and set-
                       ting more rigorous health standards for unregulated and regulated
                       contaminants.109 Absent a highly publicized scandal surrounding




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                         106 See S. 3773, 2017 Leg., 238th Sess. (N.Y. 2017); see also Senate Bill S3773, N.Y. ST.
                       SENATE, https://www.nysenate.gov/legislation/bills/2017/S3773 (last visited Aug. 16, 2018)
                       (providing additional information, including the bill’s current status).
                         107 See, e.g., Lyons, supra note 34, at 335–44 (arguing that “the liability system [of
                       CERCLA] ought to be jettisoned” in favor of a “tax based scheme,” under which “the
                       transaction costs which currently result from the operation of the CERCLA liability
                       system would be eliminated”).
                         108 A Riverkeeper white paper treating PFOA contamination in the New York city of
                       Newburgh as a case study does, in fact, highlight shortcomings in the state’s CWA
                       implementation, RIVERKEEPER, supra note 38, at 25, 32–33, but the fact that neither the
                       water infrastructure budget proposal by state Republicans nor that of Governor Cuomo
                       propose investment in the NYSDEC, which administers the New York State Pollutant
                       Discharge Elimination System CWA permitting program, indicates a political consensus
                       that investment in local water management capacity and more rigorous standard setting
                       are solutions prioritized over enhanced enforcement against polluters.
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                         109 See, e.g., S. 3772A, 2017 Leg., 238th Sess. (N.Y. 2017) (proposing bond measure to
                       fund investments in local water infrastructure); N.Y. S. 3773 proposing creation of a
                       “Water Quality Institute” to set state-specific water-quality standards); Press Release,
                       Governor’s Press Office, supra note 105 (proposing state regulation of regulated and

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                       CERCLA or the CWA, generating the political will necessary for
                       their revision could well prove a quixotic effort.
                             Second, statutory reform is unnecessary where potential avenues
                       for imposing liability through tort law represent a more efficient,
                       dynamic, and contextually responsive method of forcing information
                       development and care by potential polluters—and moreover, a
                       method that satisfies the corrective justice needs of communities con-
                       taminated by PFOA-like compounds. Recall Shavell’s insight that
                       when information about risk is an issue for public regulators, private
                       litigation may be a preferable means to regulate industries, for those
                       industries may be in a better position to anticipate and internalize the
                       costs of potential risks.110 Neither CERCLA, the CWA, nor common-
                       law tort liability has so far forced companies to internalize the risk of
                       compounds such as PFOA, but the idea that companies may have an
                       advantage in information gathering that public regulators lack is sup-
                       ported by the history surrounding PFOA. Saint-Gobain began phasing
                       out PFOA use in 2003, three years before the EPA memorialized its
                       stewardship plan with the leading producers of the compound;111 the
                       EPA’s enforcement action against DuPont in 2008 was predicated on a
                       finding that DuPont had failed to report health risks it had discovered
                       were associated with PFOA.112 Both facts suggest that companies
                       already have a sense of the liability risks commercial chemicals like
                       PFOA may pose and that incentivizing further information produc-
                       tion, collection, and sharing among companies by more consistently
                       imposing common-law tort liability for injuries resulting from chem-
                       ical contamination is a viable method to increase deterrence.
                             Hoosick Falls not only brings into relief the value of private tort




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                       litigation as a deterrent, but also as a tool to fulfill compensatory func-
                       tions not served by CERCLA. As noted earlier, CERCLA remedial
                       clean-up will not compensate residents for property value deprecia-
                       tion or for a long-term medical monitoring program.113 Further, until
                       the remedial plan is finalized, residents cannot be sure how certain
                       details of remediation, such as how privately-owned wells will be
                       accounted for, will be finalized. Thus, efforts of private agents to
                       recover losses not covered under CERCLA, or uncertain to be cov-

                       unregulated contaminants and investment in local water management infrastructure and
                       systems).
                         110 See Shavell, supra note 16, at 271–72.
                         111 See supra note 91 and accompanying text (regarding Saint-Gobain); supra note 65
                       and accompanying text (regarding EPA stewardship plan).
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                         112 See supra note 66 and accompanying text. It is not clear when DuPont first became
                       aware of those findings.
                         113 See supra Section II.B.2.


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                       ered by it, were represented in the class-action lawsuit raised by
                       residents seeking recovery for lost property value, consequential dam-
                       ages to fund a medical monitoring program, a testing and treatment
                       protocol for private well owners, and a commitment by defendant
                       companies to “take all necessary steps to remediate the property and/
                       or residences of Plaintiffs and the classes to eliminate the presence of
                       PFOA.”114 While the parties have stipulated to stay claims which
                       might be preempted by the remedial plan adopted under CERCLA
                       (those involving private well testing and requiring the defendants to
                       also “take all necessary steps to remediate the property”),115 the
                       biomonitoring and property loss claims have been allowed to proceed,
                       indicating an understanding by the court and involved parties that this
                       element of compensation may not be preempted by federal regulatory
                       programs.116
                             The opportunity to recover biomonitoring and property loss dam-
                       ages from Potentially Responsible Parties serves not only a corrective-
                       justice function that CERCLA cannot fulfill, but also helps capture a
                       valuation of uncertain risk that public regulatory regimes consistently
                       fail to appreciate. CERCLA’s biomonitoring provisions limit the
                       extent to which biomonitoring costs will be borne by private defen-
                       dants, particularly where the biomonitoring in question seems likely
                       to track contamination by a chemical that ultimately proves to cause
                       only insignificant harm.117 Yet such political hesitance to put this cost
                       on private parties means that when a situation like Hoosick Falls
                       arises, resources for a federal- or state-run biomonitoring program are
                       difficult to muster. Liability for biomonitoring due to private tort liti-
                       gation can correct for standard errors in public foresight regarding the




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                       costs the public will bear to address uncertain risks. Once individuals
                       are contaminated by industrial compounds that have uncertain but
                       significantly probable health effects, support for providing these indi-
                       viduals with medical care to manage whatever health effects may
                       emerge is widespread.118 Yet regulatory institutions repeatedly fail to

                         114  Master Consol. Class Action Complaint, supra note 57, at ¶ C.
                         115  Id.
                         116 Memorandum – Decision and Order at 255 n.3, Baker v. Saint-Gobain Performance
                       Plastics Corp., 232 F. Supp. 3d 233 (N.D.N.Y. 2017) (describing the stipulation to stay
                       certain of plaintiffs’ complaints until April 28, 2017).
                         117 See, e.g., Price v. U.S. Navy, 39 F.3d 1011, 1017 (9th Cir. 1994) (holding that the cost
                       of medical monitoring is not a “response cost” under CERCLA); see also Anthony R.
                       Laratta & Brian S. Paszamant, Diagnosing Medical Monitoring Costs Under CERCLA:
                       Checking for a Pulse, 7 VILL. ENVTL. L.J. 81, 84–101 (1996) (discussing the ambiguity in
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                       CERCLA’s statutory language as to whether medical monitoring constitutes a “necessary
                       cost of response” and analyzing the caselaw finding that it does not).
                         118 See, e.g., Rekhi, supra note 58 (describing agreement between rival congressional
                       candidates regarding the need for aid to Hoosick residents); Waldman, supra note 58

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                       account for the cost of such precautionary care ex ante. More consis-
                       tent liability for biomonitoring damages in tort could force internaliza-
                       tion of such costs, perhaps in conjunction with the development of an
                       insurance market to fund biomonitoring damages, and thereby correct
                       for this foresight error.119 Moreover, whereas CERCLA liability can
                       serve to shield corporate defendants from some of the moral oppro-
                       brium flowing from culpability as a polluter, a tort lawsuit forces the
                       question of culpability and can bring to public awareness information
                       about company behavior that sheds light on corporate practices which
                       may merit future policing. These effects further incentivize companies
                       to internalize costs in a way that CERCLA does not, and they give
                       individuals a more powerful lever to act upon PRPs, who currently are
                       likely to exercise greater influence over the Superfund process
                       whereby the remedy individuals receive is shaped.
                            The efficacy of tort liability as a backstop to regulation is only as
                       good as the likelihood that valid suits can be brought and liability can
                       be imposed. The legal issues that hindered environmental tort suits in
                       the past remain obstacles to litigative regulation today. Insights from
                       the previous sections, however, support an approach to definitions of
                       injury that would make such claims viable and allow them to serve a
                       much-needed regulatory function.

                                                                    III
                                   PUTTING A COST ON UNCERTAIN RISKS: REDEFINING
                                       INJURY IN WATER-CONTAMINATION TORTS
                            The core legal questions at the motion-to-dismiss stage of the
                       Hoosick Falls class action were characteristic of the doctrinal issues




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                       likely to arise in a tort suit alleging contamination by chemicals with
                       uncertain, though widely feared, health risks. On theories of negli-
                       gence, strict liability, nuisance, and trespass, plaintiffs in Hoosick Falls
                       alleged property damage in the form of contamination of their
                       drinking water, which gave rise to remediation costs as well as dam-
                       ages for loss in property values.120 A subgroup of plaintiffs also
                       claimed personal injury resulting from “damage at the cellular and

                       (discussing Senator Gillibrand’s pledge to help Hoosick Falls residents obtain
                       biomonitoring).
                         119 See BRYCE L. FRIEDMAN, MEDICAL MONITORING AND GENERAL LIABILITY
                       INSURANCE: AN UNCERTAIN PROGNOSIS FOR COVERAGE (2010), http://www.stblaw.com/
                       docs/default-source/cold-fusion-existing-content/publications/pub1069.pdf?sfvrsn=2
                       (discussing issues with compelling general liability insurers to cover medical monitoring
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                       claims against their policyholders, an area of law that remains unsettled. Its focus on these
                       claims suggests there may be demand for an insurance market in which such claims are
                       within coverage.).
                         120 Master Consol. Class Action Complaint, supra note 57, at ¶¶ 154–84.


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                       genetic level by the accumulation of PFOA in their bodies,” for which
                       they sought consequential damages and/or injunctive relief for “a
                       biomonitoring program . . . reasonably tailored to the exposure risks
                       posed by PFOA.”121 Defendants responded that neither claim was
                       viable, as plaintiffs could not demonstrate a legally cognizable injury
                       to either their property or their person as a result of PFOA contami-
                       nation.122 On the property side, Saint-Gobain and Honeywell argued
                       that PFOA contamination had caused no physical injury to property,
                       only economic damages; thus, plaintiffs’ property damages claims
                       were foreclosed.123 On the personal injury side, the defendants argued
                       that simple accumulation of PFOA within the body, without more,
                       constituted only a potential risk for harm, not the present injury nec-
                       essary to open the door to medical monitoring damages.124
                            In making these arguments, the defendants capitalized on the
                       aspects of tort law which limit the ability to recover from contamina-
                       tion by a chemical such as PFOA. Tort law traditionally resists
                       imposing liability on parties for harms deemed speculative, out of a
                       concern that doing so will chill socially productive activity for which
                       we are willing to tolerate the potential risk.125 One way of doing so is
                       to demand physical injury before intangible damages, such as for emo-
                       tional distress or economic loss, may attach. Of course, in the case of
                       PFOA contamination, this aspect of tort law makes recovery difficult,
                       for the science behind PFOA suggests only probabilities of harm. Fur-
                       ther, by the time physical injury from PFOA can be shown, it will be
                       highly difficult to establish the causal link between defendant conduct
                       and plaintiff injury necessary for liability. Thus, private tort litigation
                       that hews strictly to traditional liability-limiting principles fosters the




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                       same sort of myopia regarding uncertain risks that leads to under-
                       regulation of chemicals like PFOA by public regulatory authorities.
                       Tort law cannot supplement the public regulatory scheme when con-
                       strued this way.


                         121  Id. ¶¶ 165, 187–88.
                         122  Memorandum of Law in Support of Defendants’ Motion to Dismiss or Stay the
                       Master Consol. Class Action Complaint at 30–40, Baker v. Saint-Gobain Performance
                       Plastics Corp., No. 1:16-CV-917 (LEK/DJS) (N.D.N.Y. Sept. 26, 2016), 2016 WL 9405961.
                         123 Id. at 31–35.
                         124 Id. at 38–40.
                         125 See, for example, Vincent R. Johnson’s discussion of the difficult line-drawing courts
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                       assessing data-breach damages claims must engage in, given the potential for vast
                       noneconomic damages that could bankrupt valuable enterprises. Vincent R. Johnson,
                       Cybersecurity, Identity Theft, and the Limits of Tort Liability, 57 S.C. L. REV. 255, 260
                       (2005).

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                                   A. Judge Kahn’s Approach in Baker v. Saint-Gobain

                            The approach by Judge Kahn in the early stages of the Baker v.
                       Saint-Gobain litigation suggests how judicial flexibility in conceptual-
                       izing requisite injury in water-contamination torts might allow private
                       tort litigation to be a more responsive regulatory mechanism. In ruling
                       on the defendants’ motion to dismiss the plaintiffs’ complaint, Judge
                       Kahn resisted arguments that PFOA contamination of groundwater
                       and individuals’ bodies could not constitute a legally cognizable
                       injury. Addressing defendants’ assertion that the property damages
                       were barred because they were purely economic, like the damages for
                       which plaintiff shop owners were not permitted to collect in 532
                       Madison Avenue Gourmet Foods, Inc. v. Finlandia Center, Inc.,126 the
                       court focused on the 532 Madison court’s discussion of how, rather
                       than a “talismanic requirement for plaintiffs to allege physical injury
                       to their property,” the scope of legal duty limits potential damages.127
                       Judge Kahn concluded that “however . . . duty is ultimately defined in
                       pollution cases, this policy determination must include a duty not to
                       pollute a plaintiff’s drinking water.”128 Additionally, Judge Kahn
                       pointed to a line of New York environmental cases allowing recovery
                       for purely “stigma” damages—i.e., damages resulting when fear about
                       exposure to a potential health hazard causes the market value of real
                       property to diminish. He held that these cases establish the principle
                       that pure stigma damages are appropriate where the stigma is trace-
                       able to defendant conduct and that conduct in turn is connected with
                       the depreciated property in question.129 And even if 532 Madison
                       foreclosed recovery in contamination suits (which Judge Kahn did not




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                       read it as doing), the “root injury” of the plaintiffs’ complaint—the
                       loss of their potable water supply—was “not fairly categorized as
                       purely economic in nature”; thus, plaintiffs’ alleged stigma damages
                       attached to a noneconomic injury, meaning that plaintiffs’ claim could
                       survive even under defendants’ interpretation of 532 Madison.130
                            Judge Kahn also took a more flexible approach in his analysis of
                       the plaintiffs’ medical monitoring claims. Citing Second Circuit prece-
                       dent, the court held that blood accumulation of a toxin for which there
                       is a rational basis for fear of future health effects constitutes injury

                         126 750 N.E.2d 1097 (N.Y. 2001).
                         127 Baker v. Saint-Gobain Performance Plastics Corp., 232 F. Supp. 3d 233, 245
                       (N.D.N.Y. 2017).
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                         128 Id.
                         129 Id. at 246.
                         130 Id.


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                       sufficient for medical monitoring damages.131 The court’s opinion
                       notes the absurdity in requiring manifestation of physical symptoms in
                       order to qualify for a medical monitoring remedy: Medical moni-
                       toring’s purpose is to detect diseases before a patient manifests his or
                       her symptoms, so as to permit earlier, more effective treatment.132
                       Notably, Judge Kahn argued that the ability to recover such damages
                       should not turn on a requirement of an already existing tort cause of
                       action but should be determined through an evaluation of “whether,
                       because of the defendant’s actions, the monitoring requested is medi-
                       cally indicated in the plaintiff’s situation.”133 This position rejects a
                       formalistic cabining of legally cognizable injury through the imposi-
                       tion of a physical injury requirement. Instead, it offers a functional
                       definition that recognizes present-day costs created by the imposition
                       of uncertain risks on the human body. For Judge Kahn, this definition
                       seemed demanded by principles of equity:
                             If a plaintiff can show duty, breach, and causation, it seems incred-
                             ible that there would not be a legal injury . . . : she must choose to
                             either bear the cost of medical testing herself, which could end up
                             saving her life, or wait to recover from the defendant until she is
                             already sick, which could be too late to provide effective
                             treatment.134
                       And although acknowledging concerns “about a deluge of frivolous
                       litigation,” the court affirmed that “the judiciary should not retreat
                       from a flood of litigation when the claims it carries have merit.”135

                              B. The Missing Policy Argument in Baker v. Saint-Gobain
                            Judge Kahn’s matter-of-fact conclusion about manufacturers’




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                       duty not to pollute the water supply of surrounding community mem-
                       bers is intuitive, but it does not necessarily follow that such a duty
                       gives rise to liability for property-value depreciation tied to the con-
                       tamination. In fact, another court could have easily argued that

                         131 Id. at 252 (citing the interpretation of Caronia v. Philip Morris USA, Inc., 748 F.3d
                       454 (2d Cir. 2014) in In re World Trade Ctr. Lower Manhattan Disaster Site Litig., 758 F.3d
                       202, 213 (2d Cir. 2014) as supporting this holding).
                         132 Id.
                         133 This definition of the present-injury requirement draws from a note arguing that
                       medical monitoring damages can be limited by such a functional test. Id. at 254 (citing
                       Allen T. Slagel, Note, Medical Surveillance Damages: A Solution to the Inadequate
                       Compensation of Toxic Tort Victims, 63 IND. L.J. 849, 872 (1987)). While proving the
                       elements of this test might require extensive expert testimony, the test would seem to
                       provide an effective constraint on medical monitoring liability. At the motion-to-dismiss
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                       stage, a court could plausibly make a first-look determination as to whether medical
                       monitoring claims have a chance of surviving this test, based on the pleadings.
                         134 Id.
                         135 Id. at 255.


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                       Superfund’s authority to compel remediation and long-term restora-
                       tion of a contaminated water supply indicates legislative endorsement
                       of a particular distributional scheme that would be improperly dis-
                       rupted by judicial indulgence of individual claims for stigma or med-
                       ical-monitoring damages à la tort.136 Such a court might well have
                       considered questions of appropriate risk allocation and possibilities of
                       insurer-like liability before choosing not, as a matter of law, to hold
                       defendants liable for economic depreciation caused by the stigma
                       from contamination or for medical monitoring. Judge Kahn’s opinion
                       doesn’t fully engage with such policy questions. Instead, it recognizes
                       stigma damages as appropriate based on a strand of New York case
                       law, common sense, and a sense of justice. Likewise, the court’s
                       discussion of medical monitoring damages rejects a traditional
                       physical/property injury requirement for medical-monitoring eligi-
                       bility without meaningful discussion of the concerns about allocation
                       in doing so.
                             My earlier analysis of the regulatory shortcomings evidenced in
                       Hoosick Falls’s contamination crisis, however, provides the strong
                       policy reasons for extending liability in the way Judge Kahn did in
                       Baker v. Saint-Gobain. While others have recognized that expansion
                       of environmental tort liability can be a means to enhance pollution
                       deterrence,137 the Hoosick Falls case study indicates precisely why, in
                       the context of drinking water regulation, enhanced deterrence via
                       common-law remedies is necessary: The insufficiencies of the current
                       public regulatory system demand that tort law step in and enhance
                       deterrence by holding polluters liable for stigmatic damages and med-
                       ical monitoring. Given that firms which use such chemicals may have




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                       certain informational advantages as to a compound’s potential
                       harmfulness and have access to the public health advisories issued by
                       public regulators regarding various contaminants, imposing liability so

                          136 See, e.g., Brief of the Chamber of Commerce, Pharm. Research & Mfrs. of Am., &
                       Bus. Council of N.Y. State, Inc. at 10–11, Benoit v. Saint-Gobain, Nos. 17-3941(L), 17-3943
                       (CON), 17-3944 (CON), 17-3945 (CON), 17-3946 (CON), 17-3947 (CON), 17-3948 (CON),
                       17-3949 (CON), 17-3950 (CON), 17-3952 (CON), 17-3953 (CON), 17-3954 (CON), 17-3955
                       (CON), 17-3956 (CON), 17-3957 (CON), 17-3958 (CON) (2d Cir. Mar. 1, 2018) (arguing
                       that the district court’s reasoning violated all policy reasons given by courts across the
                       country for prohibiting medical monitoring damages absent physical symptoms); Timothy
                       J. Muldowney & Kendall W. Harrison, Stigma Damages: Property Damage and the Risk of
                       Fear, 62 DEF. COUNSEL J. 525, 537 (1995) (analyzing judicial treatment of stigma damages
                       and noting the important questions of risk-allocation they present).
                          137 See, e.g., In re Paoli R.R. Yard PCB Litig., 916 F.2d 829, 852 (3d Cir. 1990)
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                       (“Allowing plaintiffs to recover the cost of [medical monitoring] deters irresponsible
                       discharge of toxic chemicals by defendants.”); Abelkop, supra note 6 (arguing that tort law
                       is a valuable supplement to public regulatory schemes and thus preemption of
                       environmental torts should be limited).

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                       that risk is allocated between public regulators and private firms is
                       both fair and in the public interest.138
                            Judge Kahn’s opinion does not make or rely upon this argument,
                       nor does it engage with the crucial question as to what limiting princi-
                       ples ought to guide a court in determining whether a firm should be
                       liable for stigma damages—a question that remains unanswered by
                       New York courts. By contrast, he does provide a workable test for
                       constraining medical monitoring damages.139 The one case that mini-
                       mally engages with this question, Crisculoa v. Power Auth. of N.Y.,
                       held that plaintiffs needed simply to establish that the installation of
                       power lines over their property decreased its market value, regardless
                       of the scientific certitude or reasonableness of the fears which led to
                       such depreciation.140 Such sweeping liability is both unwise and unfair;
                       courts that wish to recognize stigma damages for contamination by
                       compounds such as PFOA will need to define a level of reasonably
                       possible health harms that permit a stigma damages claim to go for-
                       ward. One way they might do so would be to allow claims for contami-
                       nation by compounds that have in some way been subject to
                       regulatory agency scrutiny (because of a legislative directive to study,
                       as the EPA was ordered to study PFOA in the FDCA, for example, or
                       through non-binding health guidance, as in the PFOA Provisional
                       Health Advisory issued by EPA in 2009, etc.) that has not yet been
                       rebutted.141 This would capture the present-day cost of uncertain risks
                       which public regulators are not yet ready to take on but would screen
                       out compounds at the outer limits of potential risk.
                            Enforcing stigma and medical monitoring damages more consist-
                       ently in private tort litigation would serve the traditional triple func-




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                       tion of tort law: deterrence, compensation of harmed parties, and
                       corrective justice.142 While such compensation may be demanded by
                       principles of equity, it also would have valuable ripple effects in
                       prompting greater industry responsibility for compounds with uncer-

                          138 Carl Cranor, Information Generation and Use Under Proposition 65: Model
                       Provisions for Other Postmarket Laws?, 83 IND. L.J. 609 (2008), argues that provisions in
                       California’s Proposition 65, which shift the burden of knowledge production from
                       regulators to manufacturers, have proven a workable and more health-protective law. I
                       suggest here that a more flexible approach to common-law water contamination torts could
                       have a similarly beneficial burden-shifting effect.
                          139 See supra note 133 and accompanying text.
                          140 621 N.E.2d 1195, 1197 (N.Y. 1993).
                          141 Contrast this limiting principle with the one proposed in Wedeking, supra note 6
                       (arguing that MCLs should provide a bright-line threshold for injury in water-
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                       contamination torts).
                          142 See Catharine Pierce Wells, Corrective Justice and Corporate Tort Liability, 69 S.
                       CAL. L. REV. 1769, 1769 (1996) (referencing the “three basic goals of tort law” taught by
                       late-twentieth-century law teachers).

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                       tain risks. If firms find themselves consistently on the hook for med-
                       ical monitoring and property devaluation “stigma” damages, they
                       have an incentive to internalize these costs.143 If the costs prove to go
                       beyond firms’ ability to pay, the development of an insurance market
                       for such damages becomes more likely. A robust insurance market
                       can benefit safety as insurers collect and aggregate information from
                       customer firms and incentivize risk-prevention practices through dif-
                       ferentiated premiums.144 Given the inevitable resource constraints on
                       public regulatory structures, shifting risk allocation and control
                       toward responsible private actors in this way would be an efficient
                       method to address the social ill posed by the use of chemicals such as
                       PFOA.
                            My analysis of drinking-water regulation thus provides a host of
                       policy justifications for extending liability in water-contamination
                       torts beyond the traditional doctrinal limits. But I also want to high-
                       light a more theoretical significance for these extensions of liability.
                       By recognizing purely economic “stigma” damages as a valid claim
                       (subject to the limiting principle I propose), courts would put a
                       present-day cost on uncertain risk that we as a public generally
                       struggle to account for ex ante. By taking a flexible approach to
                       legally cognizable injury, courts locate a present cost for uncertain
                       future risks in a discrete remedy: medical monitoring damages. Courts
                       that expand their definition of injury in the water-contamination con-
                       text thus provide a curative to the regulatory myopia that undervalues
                       the costs of future uncertain risk. Through the cost of stigma damages
                       and medical monitoring, they make concrete the impact on individuals
                       of possibly harmful chemicals, even while public regulators outwardly




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                       declare that the risk of those chemicals is scientifically uncertain.
                       Building on Catharine Pierce Wells’s pragmatist conception of tort
                       law’s corrective justice function and her idea that trial results enforce
                       “community standards of financial responsibility and just compensa-

                         143 Russell M. Gold, Compensation’s Role in Deterrence, 91 NOTRE DAME L. REV. 1997
                       (2016), notes further that the reputational costs of compensatory litigation add further
                       deterrent value to such lawsuits.
                         144 See Michael G. Faure, The Complementary Roles of Liability, Regulation and
                       Insurance in Safety Management: Theory and Practice, 17 J. RISK RES. 689, 697 (2014)
                       (explaining how insurers can control the moral hazard of those they insure). However, the
                       development of such a market is, admittedly, uncertain. The main attention put to medical
                       monitoring liability insurance claims seems to come from counsel for insurers who
                       highlight the legal arguments for why medical monitoring damages should not fall within
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                       general liability insurance. See, e.g., FRIEDMAN, supra note 119; Gwen M. Rogers, Medical
                       Monitoring, Trigger of Coverage Analysis, and the Duty to Defend, 13 GEO. MASON L.
                       REV. 869 (2005) (arguing that courts should find that insurers have a duty to defend
                       medical monitoring claims).

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                       tion,”145 I contend that courts which recognize stigma damages and
                       medical monitoring as legally cognizable injuries are in fact faithfully
                       honoring the corrective justice role traditionally played by the
                       common law. These damages claims represent imbalances in equities
                       that people feel in the wake of a contamination event, and the adjudi-
                       catory process provides individuals with a critical platform to contest
                       the general distributional scheme that has evolved out of political
                       processes in which their particular interests were likely to have been
                       devalued.
                             Indeed, as commentators debate the role of the precautionary
                       principle and cost-benefit analysis in environmental regulatory
                       regimes,146 I contend that, in a country like the United States where a
                       precautionary approach is disfavored by lawmakers creating ex ante
                       standards, the courts are a crucial precautionary input. Private tort
                       litigation can capture as costs the present-day outrage and real injury
                       caused by uncertain risk. It is thus uniquely situated to correct for the
                       systemic discounting of future risk that constitutes regulatory myopia.
                       In recognizing a legally cognizable injury for uncertain risks, courts
                       are in fact giving voice to individuals who feel the effects of uncertain
                       risk in the present moment and are motivated to urge and force pre-
                       caution via litigation that deters carelessness by polluters and
                       demands proactive remedy. Tort litigation counters regulatory myopia
                       by imposing a precautionary impulse that is otherwise politically
                       unfeasible.

                                                                    CONCLUSION
                            Judges faced with water-contamination torts need not sidestep




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                       the policy questions Judge Kahn avoided in his Baker v. Saint-Gobain
                       decision. My analysis of the Hoosick Falls case study reveals that a
                       flexible, though principled, conceptualization of injury in water-
                       contamination torts is justified by the regulatory reality a court must
                       consider when determining whether liability is appropriate. A more
                       flexible conception of injury also permits courts to fulfill their cru-
                       cially needed corrective justice role and, in so doing, provide a vehicle
                       for precautionary impulses to act upon regulated industry and regula-
                       tors. More consistent recovery in tort is not, by any means, a complete

                         145 Catharine Pierce Wells, Tort Law as Corrective Justice: A Pragmatic Justification for
                       Jury Adjudication, 88 MICH. L. REV. 2348, 2411 (1990).
                         146 See, e.g., Frank B. Cross, Paradoxical Perils of the Precautionary Principle, 53 WASH.
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                       & LEE L. REV. 851 (1996); David M. Driesen, Cost-Benefit Analysis and the Precautionary
                       Principle: Can They Be Reconciled?, 2013 MICH. ST. L. REV. 771 (2013); Daniel A. Farber,
                       Coping with Uncertainty: Cost-Benefit Analysis, the Precautionary Principle, and Climate
                       Change, 90 WASH. L. REV. 1659 (2015).

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                       solution to the problems with drinking-water regulation in the United
                       States. However, more consistent tort recovery would capture real
                       social costs which are not being accounted for in the regulatory, indus-
                       trial, and political processes currently driving public resource govern-
                       ance. In this way, private tort litigation could play the crucial role of
                       forcing accountability.




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